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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


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_____________________________________
In Re:                              :                 Case No. 18-22380 (RDD)
                                    :
SIMON ZAROUR                        :                 Chapter 11
                                    :
            Debtor                  :                 Judge Robert D. Drain
                                    :
                                    :
                                    :
                                    :
                                    :
____________________________________:

       DEBTOR’S OBJECTION TO THE CERTIFICATE OF NO OBJECTION
      REGARDING THE MOTION TO DISMISS THE BANKRUPTCY CASE FOR
    CAUSE PURSUANT OT LOCAL RULE 9075-2 FILED BY CREDITOR U.S. BANK
                 NATIONAL ASSOCIATION AS TRUSTEE

                      PACER DOCKET NO. 144 FILED ON 01/11/2021
                           WITH A RETURN DATE 02/17/2021


      I, Tomas Espinosa, Esq. attorney for debtor Simon Zarour hereby objects to the movant

   U.S. Bank National Association, as Trustee for Citigroup Mortgage Loan Trust, Inc. asset

   backed pass-through certificates, Series 2006-AMC-1 (U.S. Bank National Association as

   trustee) filing a certificate of no opposition to the motion to dismiss that was filed with a

   return date on motion was February 19, 2021 (See Exhibit # 1 attached hereto).



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   1) Under Rule 9006-1 of the local rules for the United States Bankruptcy Court for the

      Southern District of New York, the time to answer a motion served at least 14 days

      before the return date is at least 7 days before the return date. (See Rule 9006-1(b)). The

      debtor has until February 12, 2021 to respond to the motion. The certificate should be of

      no objection should be denied.

   Dated: 02/09/2021

   North Bergen, NJ

                                                    /S/ Tomas Espinosa, Esq.
                                                    TOMAS ESPINOSA, ESQ.
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Exhibit # 1




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2006-AMC-1; and Deutsche Bank National Trust
Company, as Trustee for American Home
Mortgage Assets Trust 2007-3, Mortgage-Backed
Pass-Through Certificates Series 2007-3


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                             :
 In re:                                      :      Case No.: 18-22380-rdd
                                             :
 Simon Zarour,                               :      Chapter 11
                                             :
                       Debtor.               :      Hearing Set for:
                                             :      Date: February 19, 2021
                                             :      Time: 10:00 a.m.
                                             :



                 MOTION TO DISMISS THE BANKRUPTCY CASE FOR CAUSE




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                 MOTION TO DISMISS THE BANKRUPTCY CASE FOR CAUSE

          U.S. Bank, National Association, as Trustee for Citigroup Mortgage Loan Trust Inc.,

Asset-Backed Pass-Through Certificates, Series 2006-AMC-1 (“US Bank National Association,

as Trustee”), and Deutsche Bank National Trust Company, as Trustee for American Home

Mortgage Assets Trust 2007-3, Mortgage-Backed Pass-Through Certificates Series 2007-3

(“DBNTC, as Trustee”) (together, “Trustees”), secured creditors of the debtor, by and through

its undersigned counsel, hereby moves the Court for an order dismissing this case for cause

(“Motion”), and in support thereof, respectfully states as follows:

                     JURISDICTION, VENUE AND CORE PROCEEDING

          1.      This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334. Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409. This matter

is a core proceeding pursuant to 28 U.S.C. § 157.

          2.      The relief sought in this Motion is based on §§ 105(a) and 1112(b) of Title 11 of

the United State Code (“Bankruptcy Code”), Federal Rules of Bankruptcy Procedure 1017, 9013,

and 9014, and Local Bankruptcy Rule 9013-1.

                                          BACKGROUND

I.        US Bank National Association, as Trustee Mortgage and State Court Foreclosure
          Action

          3.      On May 16, 2006, the debtor, Simon Zarour (“Debtor”), executed and delivered

an adjustable rate promissory note for $378,000 (“US Bank Note”) to Argent Mortgage

Company, LLC (“Argent”).          On the same day, the Debtor executed a mortgage, securing

payment of the Note in favor of Argent (“US Bank Mortgage”) encumbering the Debtor’s

property located at 744 New Jersey Ave., Lyndhurst, NJ 07071 (“US Bank Property”). The

Bergen County Clerk’s Office (“Bergen Clerk”) recorded the US Bank Mortgage on June 1,

2006. On February 20, 2014, Argent assigned the US Bank Mortgage to US Bank National

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Association, as Trustee by an assignment of mortgage recorded with the Bergen Clerk on March

24, 2014 (“US Bank Assignment”). Id. US Bank Note, US Bank Mortgage and US Bank

Assignment, Ex. A.

          4.     The Debtor defaulted on the US Bank Mortgage on August 1, 2008, and all

payments due thereafter. On September 30, 2013, US Bank National Association, as Trustee

sent a notice of intent to foreclose to Debtor. On April 29, 2014, US Bank National Association,

as Trustee filed a foreclosure Complaint in the Superior Court of New Jersey, Chancery

Division, Bergen County, New Jersey (“State Court”), Docket No. F-016824-14 (“Complaint”).

US Bank National Association, as Trustee specifically pleaded that it was entitled to enforce the

US Bank Note and US Bank Mortgage by virtue of the US Bank Assignment. On May 15, 2014,

the Debtor filed an Answer and affirmative defenses (“Answer”).

          5.     On October 17, 2014, US Bank National Association, as Trustee moved to strike

the Answer and declare the action uncontested. Following oral argument, the State Court ruled

that the Debtor “was not a party to the trust, was not a beneficiary of the trust, and did not have

standing to assert the rights of third parties to challenge a violation of the trust prospectus.” The

State Court then granted US Bank National Association, as Trustee’s motion to strike Debtor’s

Answer, returned the matter to the Office of Foreclosure as an uncontested case, and denied

Debtor’s cross-motion to dismiss the Complaint. Id.

          6.     On August 30, 2016, US Bank National Association, as Trustee applied for entry

of final judgment. On October 19, 2016, the State Court entered final judgment against Debtor

for $725,662.43 together with lawful interest from July 8, 2016.

          7.     The Debtor appealed, and the Appellate Court issued a decision denying Debtor’s

appeal on March 13, 2018. On March 12, 2018, as customary, the Appellate Court informed the

parties of its ruling the day before issuing its decision.

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II.       DBNTC, as Trustee Mortgage

          8.     On March 21, 2007 , the debtor, Simon Zarour (“Debtor”), executed and

delivered an adjustable rate promissory note for $332,240 (“DBNTC Note”) to American

Brokers Conduit (“American”). On the same day, the Debtor executed a mortgage, securing

payment of the Note in favor of American (“DBNTC Mortgage”) encumbering the Debtor’s

property located at 6 Harris Place, Fair Lawn, New Jersey, 07410 (“DBNTC Property”). The

Bergen Clerk recorded the DBNTC Mortgage on March 28, 2007. Id. On July 15, 2011,

American assigned the DBNTC Mortgage to DBNTC, as Trustee by an assignment of mortgage

recorded with the Bergen Clerk on August 17, 2011 (“DBNTC Assignment”). Id. DBNTC

Note, DBNTC Mortgage and DBNTC Assignment, Ex. B.

III.      The Bankruptcy Proceedings

          A.     The Debtor Filed an Incomplete and Inaccurate Petition

          9.     On March 12, 2018 (“Petition Date”), the same day that the Debtor learned he

would lose on appeal, the Debtor filed a voluntary petition under Chapter 13.

          10.    Trustees had no knowledge of this bankruptcy case until Debtor sent Trustees’

counsel an email March 14, 2018.

          11.    The Debtor failed to file schedules along with his petition. See ECF No. 1. In

addition to being incomplete, the Debtor’s petition contains several knowingly false statements.

Under Question 15, the Debtor represents under penalty of felony that “I received a briefing from

an approved credit counseling agency within the 180 days before I filed this bankruptcy

petition, but I do not have a certificate of completion. ECF No. 1.

          12.    On April 26, the Debtor filed his “pre-petition” credit counseling certificate, dated

April 25, 2018, over one month after the Petition Date. ECF No. 11.




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          13.    The Debtor amended his petition on July 12, 2018. ECF No. 25. Again, the

Debtor represented under penalty of perjury that “I received a briefing from an approved credit

counseling agency within 180 days before I filed” the petition. Id.

          14.    In addition, the Debtor represented that his liabilities total between $100,001-

$500,000. The Debtor’s schedules (not filed until July 12, 2018) reflect that his liabilities as of

the Petition Date were $18,245,729.71, meaning the Debtor underestimated his liabilities, under

penalty of perjury, by over $17.5 million. See ECF No. 24.

          15.    The Debtor claims an ownership interest in the US Bank Property, and values the

US Bank Property at $120,000. See id. at Schedule A.

          16.    The Debtor claims an ownership interest in the DBNTC Property, and values the

DBNTC Property at $225,000. See id. at Schedule A.

          B.     The Debtor Has Failed to Comply With His Duties as a Chapter 11 Debtor

          17.    The Debtor never filed a Chapter 13 plan. Instead, on May 22, 2018, after over

two months of inactivity, the Debtor moved to convert the case to Chapter 11. ECF No. 14. The

Court converted the case on June 19, 2018. ECF No. 18.

          18.    The Debtor represented in his conversion motion that he “believes that in a

Chapter 11 Bankruptcy, he will be able to restructure his debts and confirm a Chapter 11 Plan.”

ECF No. 14 ¶ 7. The Debtor proceeded to state that he “is acting in good faith in that he believes

that a Chapter 11 Plan can be structured and confirmed.” Id. ¶ 8.

          19.    Notwithstanding these representations, the Debtor has not shown any progress

towards confirming, or even proposing, a plan of reorganization.         To date, no chapter 11

Disclosure Statement or Plan has been filed.

          20.    Nor has the Debtor filed operating reports timely. The Debtor has not filed a

monthly operating report since January 2020.

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          21.    Further, each of the operating reports filed by the Debtor are incomplete. They

fail to include critical information such as the cash on hand at the beginning of each month and

the cumulative totals of receipts and disbursements. See id.

          22.    The Debtor also fails to accurately list his summary of unpaid post-petition debts

in his operating reports. Despite failing to show any disbursements to mortgagors, the Debtor

represents that he has no unpaid post-petition debts. See id.

          23.    The consequence to the Debtor’s failure to pay his secured creditors is clear. The

Court granted creditors’ motions for stay relief to property located at: (1) 231 McNamara Road,

Spring Valley, NY 10977 (ECF No. 86); (2) 30-13 High Street, Fairlawn, NJ 07410 (ECF No.

87); (3) 620 West Drive, Paramus, NJ 07652 (ECF No. 88); (4) 6 Surf Road, Monmouth Beach,

NJ (ECF No. 89); and (5) 32 Ocean Avenue, Monmouth Beach, NJ 0775 (ECF No. 93).

          24.    As of the Petition Date, Debtor is past due and owes US Bank National

Association, as Trustee $816,679.40 on the US Bank Property. See Claim 5-1, filed May 4,

2018. Of that amount, $469,736.09, was past due as of the Petition Date. Id.

          25.    As of the Petition Date, Debtor is past due and owes DBNTC, as Trustee

$704,875.59 on the DBNTC Property. See Claim 10-1, filed May 21, 2018. Of that amount,

$381,992.53, was past due as of the Petition Date. Id.

                                           ARGUMENT

I.        The Case Should Be Dismissed

          26.    Where debtors fail to perform their obligations, they may not use Chapter 11 “to

prolong control of an insolvent enterprise where no benefit to the public or creditors is

plausible.” In re Hi–Toc Development Corp., 159 B.R. 691, 693 (S.D.N.Y. 1993). The case

should be dismissed because: (1) it was filed in bad faith; (2) the Debtor is ineligible to be in

bankruptcy because he did not perform pre-petition credit counseling; (3) the estate has been

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subject to continuing loss with no likelihood of reorganization; and (4) the Debtor has failed to

file operating reports.

          A.     The Debtor Filed this Case in Bad Faith, Compelling Dismissal

          27.    Debtor’s case should be dismissed because he filed it in bad faith.

          28.    Filing a petition in bad faith is cause to dismiss a Chapter 11 bankruptcy case. In

re C-TC 9th Ave. P’ship, 113 F.3d 1304, 1310 (2d Cir. 1997) (“A bankruptcy court may dismiss

a bad faith filing on an interested party's motion or sua sponte.”). To determine bad faith, courts

look to the totality of circumstances and consider factors including: (a) “the debtor has few

unsecured creditors whose claims are small in relation to those of the secured creditors”; and (b)

“the timing of the debtor’s filing evidences an intent to delay or frustrate the legitimate efforts of

the debtor’s secured creditors to enforce their rights.” Id. at 1311 (citation omitted).

          29.    Moreover, “because bankruptcy filings must be made in good faith, an entity may

not file a petition for reorganization which is solely designed to attack a judgment collaterally –

the debtor must have some intention of reorganizing.” Matter of Cohoes Indus. Terminal, Inc.,

931 F.2d 222, 228 (2d Cir. 1991). Thus, “[a]s a general rule where, as here, the timing of the

filing of a Chapter 11 petition is such that there can be no doubt that the primary, if not sole,

purpose of the filing was a litigation tactic, the petition may be dismissed as not being filed in

good faith.” In re Reyes, No. 14-13233 (SMB), 2015 WL 4624156, at *5 (Bankr. S.D.N.Y. Aug.

4, 2015) (citation omitted).

          30.    Both these factors are prominent here. First, the Debtor’s unsecured debt is

minimal compared to his secured debt. On the Petition Date, the Debtor’s secured debt totaled

$17,646,738.76. Schedule D, Docket No. 24. His unsecured debt totaled $598,990.95. ECF No.

24 at Schedule E/F. Thus, the Debtor’s unsecured debt is only 3.4% of his total debt.



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          31.    Second, the Debtor filed this case the day he discovered that the Appellate Court

would rule against him. The Debtor’s finances and petition timing establish that he filed this

case as a litigation tactic rather than to reorganize.

          32.    The Debtor’s conduct is similar to that of the bad faith debtor in In re Wally

Findlay Galleries (New York), Inc., 36 B.R. 849, 850 (Bankr. S.D.N.Y. 1984). There, creditors

filed suit against a corporate debtor in default of its lease agreement. Id. at 850. The debtor filed

its petition on “the same day that judgments on the promissory notes were entered in the state

court.”     Id. at 851. This Court dismissed the case under Section 1112(b) for bad faith. Id. at

850-851. The Court determined, based on the alignment of the petition with the summary

judgment motion, that “[i]t is clear that the debtor did not file its petition to reorganize, but rather

as a litigation tactic in its dispute” with its creditors. Id. at 851.

          33.    As in Wally Findlay Galleries, the Debtor filed his petition on the same day that

the Appellate Court informed him that he would lose on appeal. This timing is not coincidental,

and merely an attempt to delay an adverse judgment. Just like in Wally Findlay Galleries, this is

an improper use of the bankruptcy process. Thus, the Court should dismiss the Debtor’s case.

See also In re Ravick Corp., 106 B.R. 834, 848 (Bankr. D. N.J. 1989) (“The very timing of the

petition in this case, just two days before the return date on the debtor's and [creditor’s] motion

for reconsideration in the state court action, makes the debtor's motives suspect. . . . .This court

cannot sanction the debtor's use of the bankruptcy court as a litigation tactic.”).

          34.    Further, the Debtor’s bad faith conduct goes beyond timing his petition. This case

was filed as a skeletal petition, and the Debtor failed to provide completed schedules for four

months. This case has languished since March 2018, almost three years, without the Debtor

making any progress towards a plan of either liquidation or reorganization. The Debtor has yet

to file a disclosure statement, a plan, or, to Trustees’ knowledge, engage in any substantive

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negotiations. Instead, the Debtor has used this case for its automatic stay, causing needless delay

and compelling several creditors to spend resources to seek relief. See Docket Nos. 83-89. The

Debtor’s bad faith conduct should result in his case’s dismissal.

          B.     The Debtor is Ineligible for Bankruptcy Relief Because He Did Not Receive
                 Prepetition Counseling (and Lied About It)

          35.    An individual may not be a debtor under any chapter of the Bankruptcy Code

“unless such individual has, during the 180-day period ending on the date of filing of the petition

by such individual, received from an approved nonprofit budget and credit counseling agency.

11 U.S.C. § 109(h)(1). This requirement is an element “that must be established to sustain a

voluntary bankruptcy proceeding.” In re Zarnel, 619 F.3d 156, 169 (2d Cir. 2010).

          36.    Thus, the case should be dismissed. The only exception is if dismissal would

result in “manifest injustice.” In re Nichols, 362 B.R. 88, 93 (Bankr. S.D.N.Y. 2007). To

determine if dismissal would result in manifest injustice, courts evaluate six factors, including:

(1) whether the debtor filed the case in good faith; (2) whether the debtor took all reasonable

steps to comply with the statutory requirements; (3) whether the debtor’s failure to comply was

the result of circumstances that were both extraordinary and beyond the control of the debtor; (4)

whether the debtor’s conduct meets the minimum requirements of Section 109(h); (5) whether

any party would be prejudiced by allowing the case to proceed; and (6) whether there are any

unique equitable factors that tip the balance. Id.

          37.    None of these factors favor the Debtor. First, as explained above, the case was

not filed in good faith. This alone is cause to dismiss the case.

          38.    Second, there is no indication that the Debtor took reasonable steps to comply

with the credit-counseling requirement. Reasonable steps to comply occur when the debtor takes

the course the same day as the petition filing, though not necessarily before. Id. By contrast, the

Debtor failed to then take the course for a month after he filed the petition.
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          39.    Third, the Debtor’s failure to take credit counseling is not the result of

circumstances beyond his control. In Nichols, the Court found this requirement met where the

debtors’ counsel advised the debtors that they did not need to take the course prepetition. Id. at

91. No such event occurred here. This factor could have been satisfied if the Debtor attempts to

obtain an extension, but fails to obtain it despite best efforts. See, e.g., id. at 94. However, the

Debtor never attempted to obtain an extension, instead falsely certifying, twice, that he obtained

the course prepetition.

          40.    Fifth, creditors are prejudiced by the case remaining open, as the Debtor filed this

case for the sole purpose of frustrating his creditors’ state law rights in properties based on the

Debtor’s years-long failure to service their debts.

          41.    Finally, and significantly, the Debtor’s untruthfulness in his petition and his

amended petition sharply tips the balance towards dismissal. The Debtor made no good faith

effort to comply with Section 109(h). Instead, he misrepresented his eligibility to be a debtor,

twice, in order to file his petition on the same day that he learned about a pending adverse

judgment against him.

          42.    Under these circumstances, dismissing the case based on the Debtor’s ineligibility

to be a debtor is not manifest injustice. The case should be dismissed.

          C.     Cause Exists to Dismiss This Case under 11 U.S.C. § 1112(b), because the
                 Debtor Has No Reasonable Prospect of Reorganization

          43.    Cause for conversion or dismissal is established if there is a “substantial or

continuing loss to or diminution of the estate and the absence of a reasonable likelihood of

rehabilitation.” 11 U.S.C. § 1112(b)(4)(A).

          44.    Both elements exist here. The Debtor has failed to maintain basic post-petition

expenses for his enterprise. “[T]he debtor’s inability to meet the basic operating expenses

critical to the viability of its enterprise, notwithstanding the protection of the automatic stay” is
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an indication of continuing loss to the bankruptcy estate. In re Taub, 427 B.R. 208, 231 (Bankr.

E.D.N.Y. 2010).

          45.    Nor can the Debtor’s business be rehabilitated. “In this context, rehabilitation

means to put back in good condition and reestablish on a sound basis.” In re AdBrite Corp., 290

B.R. 209, 216 (Bankr. S.D.N.Y. 2003).         The Debtor’s revenue is based largely off rental

properties, and the Court has granted stay relief allowing mortgagors to commence foreclosure

proceedings against these properties. Thus, dismissal is appropriate.

          D.     The Debtor’s Failure to File Complete and Timely Operating Reports is
                 Cause to Dismiss this Case

          46.    “The failure to file monthly operating statements as required by the Local Rules

of the Bankruptcy Court and the United States Trustee's Operating Guidelines, whether based on

inability to do so or otherwise, undermines the Chapter 11 process and constitutes cause for

dismissal or conversion of Chapter 11 proceedings.” In re Roma Grp., Inc., 165 B.R. 779, 780

(S.D.N.Y. 1994); see also 11 U.S.C. § 1112(b)(4)(F), (H).

          47.    The Debtor has failed completely to file operating reports since the January 2020

Operating Report. The Debtor also fails to accurately list his summary of unpaid post-petition

debts in his operating reports. Despite failing to show any disbursements to mortgagors, the

Debtor represents that he has no unpaid post-petition debts.

          48.    Even with these incomplete operating reports, the Debtor did not file them timely.

Instead, he filed them as batch filings months later. These batch filings do not satisfy the

Debtor’s requirement to provide regular operating reports. See In re Babayoff, 445 B.R. 64, 81

(Bankr. E.D.N.Y. 2011). Thus, dismissal is appropriate.

II.       Dismissal Should Include a Filing Bar to Prevent Further Abuse

          49.    The Court may bar the Debtor from filing a future case for “cause.” 11 U.S.C. §

349(a); In re Casse, 198 F.3d 327 (2d Cir. 1999).                The Debtor’s bad faith filing,
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misrepresentations in his schedules, and abuse of the bankruptcy system to prevent creditors

from exercising state law rights is cause to enter a bar, of at least 180 days, preventing the Debtor

from future filings.

          50.    This relief ensures that the Debtor will not attempt to frustrate mortgagors’ rights

again by filing a petition shortly after this is case is dismissed.

          51.    The protections against further stay attempts by the Debtor offered by Section

109(g) are insufficient. “Experience shows that, although ineligible, some debtors have filed

notwithstanding section 109(g)'s constraint leading to further litigation and time, impeding the

creditors' rights.” In re Felberman, 196 B.R. 678, 682 (Bankr. S.D.N.Y. 1995). Thus, dismissal

with a filing bar is appropriate.

                                           CONCLUSION

          WHEREFORE, the Trustees respectfully request entry of an Order in the forms attached

hereto

          (a) Dismissing Debtor’s chapter 11 case for cause;

          (b) Imposing a filing bar of 180 days against the Debtor; and




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          (c) Granting such other and further relief as may be necessary and proper.

Dated: January 11, 2021

                                                       /s/ Brett L. Messinger
                                                       Brett L. Messinger
                                                       Duane Morris LLP
                                                       30 South 17th Street
                                                       Philadelphia, PA 19103-4196
                                                       Telephone: (215) 979-1000
                                                       Email: BLMessinger@duanemorris.com

                                                       Attorneys for U.S. Bank, National
                                                       Association, as Trustee for Citigroup
                                                       Mortgage Loan Trust Inc., Asset-Backed
                                                       Pass-Through Certificates, Series 2006-
                                                       AMC-1; and Deutsche Bank National Trust
                                                       Company, as Trustee for American Home
                                                       Mortgage Assets Trust 2007-3, Mortgage-
                                                       Backed Pass-Through Certificates Series
                                                       2007-3




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                               Proposed Form of Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                :
 In re:                                         :    Case No.: 18-22380-rdd
                                                :    Chapter 11
 Simon Zarour,                                  :
                                                :
                        Debtor.                 :
                                                :



         ORDER GRANTING STAY RELIEF NUNC PRO TUNC AND DISMISSING
                           BANKRUPTCY CASE

          Upon consideration of the U.S. Bank, National Association, as Trustee for Citigroup

Mortgage Loan Trust Inc., Asset-Backed Pass-Through Certificates, Series 2006-AMC-1 (“US

Bank National Association, as Trustee”), and Deutsche Bank National Trust Company, as

Trustee for American Home Mortgage Assets Trust 2007-3, Mortgage-Backed Pass-Through

Certificates Series 2007-3 (“DBNTC, as Trustee”), motion to dismiss this case for cause

(“Motion”)1 and any objection or response filed thereto; and after holding a hearing to consider

the Motion; and the Court finding that the Court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 1334 and this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and after due deliberation and sufficient cause appearing therefor;


1.        IT IS HEREBY ORDERED THAT:

          1.     The Motion is GRANTED.

          2.     The Debtor’s bankruptcy case is hereby dismissed.



          1
         Capitalized terms used but not otherwise defined herein shall have the meaning ascribed
to them in the Motion.



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          3.     The Debtor is barred from filing a further case under any chapter of the

Bankruptcy Code for 180 days from the date of the entry of this order.

          4.     US Bank National Association, as Trustee and DBNTC, as Trustee are authorized

to take any and all steps they are legally entitled to in order to enforce their rights.

          5.     The automatic stay provided for in 11 U.S.C. § 362(a) is hereby terminated so that

US Bank National Association, as Trustee and DBNTC, as Trustee may enforce their rights

under state law and their state court judgments.

          6.     The automatic stay shall be deemed terminated as of the date of the petition.

          7.     This Court shall retain jurisdiction to hear and decide any and all disputes related

to or arising from the implementation, interpretation and enforcement of this Order.



Dated: ________________, 2021
       White Plains, NY                                         Honorable Robert D. Drain
                                                                United States Bankruptcy Judge




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                            Exhibit A
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       Return To:

       Ar9ent Kort9a9• Coapany, LLC                                                  66070       II-Ort9a1e
       C/0 •ationwid• !itle Clearin9, Inc.                                           Kathleen A. Donovan Recording Fee 2S<l. W
       2100 Alt 19 lorth                                                             Ber,en Counb Clerk
       Pala Barbor, rL 34683                                                         Recorded 06/01/2006 13:49

       Prepared By:Ar9ent Kort9a9• Coapany, LLC

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       rloor,Whit• Plain,, I! 10604


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                                                MORTGAGE




       DEFINmONS

       Words used in multiple sections of this docwnent are defined below and other words are defined in
       Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this docwnent are
       also provided in Section 16.

       (A) ''Security wtnment" means this document, which is dated Kar 16, 2006
       together with all Riders to this document.
       (B) ''Borrower" is SIMO• UROO'R




'\     Borrower is the mortgagor under this Security Instrument.
       (C) ''Leader" is Ar9ent Kort9a9e Coapany, LLC

       Lender is a Liaited Liabili tr Coapany
       organized and existing under the laws of Delaware



       NM JERSEY. S.ngle Family. Fannie MNIF/9ddle Mac UNIFOfN INSTAUMBIT                      Fenn 3031 1/01

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  Lender's address is 3 Park Plasa - 10th rloor                    I rvine, CA 9261'

  Lender is the mortgagee under this Security Instrument.
  (i)) "Note" means the promissory note signed by Borrower and dated Nay 16, 200 6
  The Note states that Borrower owes Lender thrH h11ndred 1ennty - ei9ht tho11sand and
  00/100                                                                                                Dollars
  (U.S. $378,000.00                ) plllS interest. Borrower has promised to pay this debt in regular Periodic
  Payments and to pay the debt in fuU not later than J11ne 1, 2 03 6
  (E) "Property" means the property that is described below under the heading "Transfer of Rights in the
  Property.•
  (F) ''Loan" means the debt evidenced by the Note, plllS interest, any prepayment charges and late charges
  due under the Note, and aU sums due under this Security Instrument, plllS interest.
  (G) ''RJders" means all Riders to this Security Instrument that are executed by Borrower. The following
  Riders are to be executed by Borrower [check box as applicable):

  [i] Adjustable Rate Rider        O    Condominium Rider              O Second Home Rider
  0    Balloon Rider               O    Planned Unit Development Rider [iJ 1-4 Family Rider
  0    VA Rider                    O    Biweekly Payment Rider         O Otber(s) [specify]

  (ff) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
  ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
  oon-appealable judicial opinions.
  (I) ''Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
  charges that are imposed on Borrower or the Property by a condominium association, homeowners
  association or similar organization.
  (J) ''Electronic Funds Tnnsfer" means any transfer of funds, other than a transaction originated by
  checlc, draft, or similar paper instrument, which is initiated through an electtonic terminal, telephonic
  instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit
  or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
  machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
  transfers.
  (K) ''Escrow Items" means those items that are described in Section 3.
  (L) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
  by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
  damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the
  Property; (iii) oonveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the
  value and/or condition of the Property.
  (M) ''Mortgage lasunnce" means insurance protecting Lender against the nonpayment of, or default on,
  the Loan.
  (N) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
  Note, plus (ii) any amounts under Section 3 of this Security Instrument.
  (0 ) ''RESPA'' means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
  implementing regulation, Regulation X (24 C. F. R. Part 3500), as they might be amended from time to
  time, or any additional or successor legislation or regulation that governs the same subject matter. As used
  in this Security Instrument, "RESPA• refers to all requirements and restrictions that are imposed in regard
  to a "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage
  loan" under RESPA.


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  (P) ''Successor In Interest of Borrower" means any party that has taken title to the Property, whether or
  not that party bas assumed Borrower's obligations under the Note and/or this Security Instrument.

  TRANSFER OF RIGHTS IN THE PROPERTY

  This Security Instrument secures to Lender: (i)     the repayment of the Loan, and all renewals, extensions
  and modifications of the Note; and (ii) the          performance of Borrower's covenants and agreements
  under this Security Instrument and the Note.         For these purposes. Borrower does hereby mortgage,
  grant and convey to Lender               the         following described property located in the
                        County                           of                   BIRGIII
              [Type of Rccordina Jurisdiction)                        [Name of Recording Jurisdiction]
  llBIBI! A A!!ACBID BIRl!O .lllD KADI A PAA! BIRIOF:




  Property Account Number: LO! 5 BLOC!t 166                                  which currently bas the address of
  1,, HIW JIRSI?         AVIHOI                                                                             [Street)
  LtWDBORS! !OWWSBIP                                               [City] , New Jersey 07011             (Zip Code)
  ("Property Address"):

        TOGETHER WITH all the improvements now or hereafter erected on the property, and all
  easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
  additioos sball also be covered by this Security Instrument. All of the foregoing is referred to in this
  Security Instrument as the "Property."
        BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and bas
  the right to grant and convey the Property and that the Property is unencumbered, except for encumbrances
  of record. Borrower warrants and will defend generally the title to the Property against all claims and
  demands, subject to any encumbrances of record.
        THIS SECURITY INSTRUMENT combines uniform covenants for national use and noo-uniform
  covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
  property.
        UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
        I. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
  Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
  prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
  pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.
  currency. However, if any check or other instrument received by Lender as       ment under the Note or this

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  Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments
  due under the Note and this Security Instrument be made in one or more of the following forms, as
  selected by Lender: (a) cash; (b) money order; (c) certified cbedc, bank check, treasurer's check or
  cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
  federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
         Payments arc deemed received by Lender when received at the location designated in the Note or at
  such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
  Lender may return any payment or partial payment if the payment or partial payments are insufficient to
  bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
  current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
  payments in the future. If Lender accepts such payments, it shall apply such payments at the time such
  payments are accepted. No offset or claim which Borrower might have now or in the future against Lender
  shall relieve Borrower from making payments due under the Note and this Security Instrument or
  performing the covenants and agreements secured by this Security Instrument.
         2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
  payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
  due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
  shall be applied to each Periodic Payment in the order in which it became due. Any remaining amounts
  shall be applied first to late charges, second to any other amounts due under this Security Instrument, and
  then to reduce the principal balance of the Note.
         If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
  sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
  the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received
  from Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be
  paid in full. To the extent that any excess exists after the payment is applied to the full payment of one or
  more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall
  be applied first to any prepayment charges and then as described in the Note.
         Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
  the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
         3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
  under the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due
   for: (a) taxes and assessments and other items whlcb can attain priority over this Security Instrument as a
   lien or encumbrance on the Property; (b) leasehold paymen.ts or ground rents on the Property, if any; (c)
  premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
  premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
  Insurance premiums in accordance with the provisions of Section I0. These items are called "Escrow
  Items." At origination or at any time during the term of the Loan, Lender may require that Community
  Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
  assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
  be paid under this Section. Borrowe,- shall pay Lender the Funds for Escrow Items unless Lender waives
   Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
  obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be
   in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts



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  due for any Escrow Items for which payment of Funds his been waived by Lender and, if Lender requires,
  shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
  Borrower's obligation to make such payments and to provide receipts shall for all purposes be deemed to
  be a covenant and agreement contained in this Security Instrument, as the phrase •covenant and agreement"
  is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
  Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9
  and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
  amount Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
  accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in
  such amounts, that are then required under this Section 3.
         Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
  the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
  require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
  reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
  Law.
         The Funds shall be held in an institution whose deposits are insured by a federal agency,
  instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
  any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
  specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
  analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
  Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
  or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
  any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
  shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the
  Funds as required by RESPA.
         If there is a surplus of Funds held in csa-ow, as defined under RESPA, Lender shall account to
  Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
  as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
   Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than
  twelve monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA,
   Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
  necessary to make up the deficiency in accordance with RESPA, but in no more than twelve monthly
  payments.
         Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
  to Borrower any Funds held by Lender.
         4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fmes, and impositions
   attributable to the Property which can attain priority over this Security lostrwnent, leasehold payments or
   ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
   the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
         Borrower shall promptly discharge any lien which has p.riority over this Security Instrument unless
   Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
   to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
   by, or defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to
   prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
   are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
   the lien to this Security Instrument. If Lender determines that any part of the Property is subject to a lien
   which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the




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  lien. Within IO days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
  more of the actions set forth above in this Section 4.
         Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
  reporting service used by Lender in connection with this Loan.
         S. Property In1uruce. Borrower shall keep the improvements now existing or hereafter erected on
  the Property insured against loss by fire, hazards included within the term "extended coverage,• and any
  other hazards including, but not limited to, earthqualces and floods, for which Lender requires insurance.
  This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
  Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
  the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
  right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
  require Borrower to pay, in connection with this Loan, either: (a) a ono-time charge for flood zooe
  determination, certification and tracking services; or (b) a ono-time charge for flood zone determination
  and certification services and subsequent charges each time remappings or similar changes occur which
  reasonably might affect such determination or certification. Borrower shall also be responsible for the
  payment of any fees imposed by the Federal Emergency Management Agency in connection with the
   review of any flood zone determination resulting from an objection by Borrower.
         If Borrower fails to maintain BllY of the coverages described above, Lender may obtain insUTBllce
   coverage, at Lender's option Bild Borrower's expense. Lender is under no obligation to purchase any
   particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
   not protect Bo.rrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
   hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
   acknowledges that the cost of the insurance cove111ge so obtained might significantly exceed the cost of
   insUTBllce that Borrower could have obtained. Any amounts disbursed by Lender under this Section S sha1 I
   become additional debt of Borrower secured by this Security lnstrumenL These amounts shall bear interest
   at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
   Lender to Borrower requesting payment.
         All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
   right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
   mortgagee and/or as an additional loss payee. Lender shall have th.e right to hold the policies and renewal
   certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
   renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
   for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
   shall name Lender as mortgagee Bild/or as an additional loss payee.
         lo the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
   may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
   in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
   be applied to restoration OT repair of the Property, if the restoration or repair is economically feasible and
   Lender's security is not lessened. During such repair and restoration period, Lender shall have the right to
   hold such insurance proceeds until Lender bas had an opportunity to inspect such Property to ensure the
   work has been completed to Lenders satisfaction, provided that such inspection shall be undertaken
   promptly. Lender may disburse proceeds for the repairs and restoration in a single payment OT in a series
   of progress payments as the work is completed. Unless an agreement is made in writing or Applicable Law
   requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
   interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
   Borrower shall not be paid out of the insurance proceeds Bild shall be the sole obligation of Borrower. If
   the restoration or repair is not economically feasible or Lender's security would be lessened, the insurance
   proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with



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  the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
  Section 2.
        If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
  claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
  insurance carrier has offered to settle a claim, then Lender may negotiate and settle th.e claim. The 30-day
  period will begin when the notice is given. 1n either event, or if Lender acquires the Property under
  Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
  proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
  (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
  Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
  coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or
  to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
         6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
  residence within 60 days after the execution of this Security lnstrument and shall continue to occupy the
  Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
  otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
  circumstances exist which are beyond Borrower's control.
         7. Preservation, Maintenance and Prouctlon or the Property; Inspections. Borrower shall not
  destroy, damage or impair the Property, al.low the Property to deteriorate or commit waste on the
   Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
  order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
  determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
  promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
  condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
  shall be responsible for repairing or restoring the Property only if Lender bas released proceeds for such
   purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
   progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
   to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of
   such repair or restoration.
         Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
   reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
   Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.
         8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
   process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
   knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
   (or failed to provide Lender with material information) in connection with the Loan. Material
   represenwions include, but are not limited to, representations concerning Borrower's occupancy of the
   Property as Borrower's principal residence.
         9. Protection or Lender's Interest la ~e Property and Rights Under this Security Instrument. If
   (a) Borrower fails to perfonn the covenants and agreements contained in this Security Instrument, (b) there
   is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under
   this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
   enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
   regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
   reasonable or appropriate to protect Lender' s interest in the Property and rights under this Security
   Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
   the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien
   which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable


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  attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument, including
  its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
  entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
  from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned
  on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is not
  under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any or all
  actions authorized under this Section 9.
        Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
  secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
  disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
  payment.
        If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
  lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless
  Lender agrees to the merger in writing.
        10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
  Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
  the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
  previously provided such insurance and Borrower was required to make separately designated payments
  toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain
  coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
  equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
   mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not
  available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
   were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
   payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
   non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be
   required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer require loss
   reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
   provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
  separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
   Insurance as a condition of making the Loan and Borrower was required to make separately designated
   payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
   maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender's
   requirement for Mortgage Insurance ends in accordan.c e with any written agreement between Borrower and
   Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
   Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.
         Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
   may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage
   Insurance.
         Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
   enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
   are on terms and conditions that are satisfactory to the mortgage insurer and the other party ( or parties) to
   these agreements. These agreements may require the mortgage insurer to make payments using any source
   of funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
   Insurance premiums).
         As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
   any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
   derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
   exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
   provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
   premiums paid to the insurer, the arrangement is often termed "captive reinsurance.• Further:
         (a) Any 1uch acreement, will not affect the am ounts that Borrower bu agreed to pay for
   Mortpce luarance, or any other terms of the Loan. Such agreements will not Increase the amount
   Borrower wlll owe for Mortgace lo111ranee, and they wlll not eotltle Borrower to any refund.



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       (b) Ally such a greements wiU not affect the rf&bts Borrower bas - if any - with respect to the
  Mortga&e Insunnce under the Homeowners Protecd on Act of 1998 or any other la w. These rights
  may include the right to receive certai.n d bclosura, to request a nd obtain cancellation of the
  Mortgt&f IIJl!!'ll~ f9 !!11ve the Mortgage Insurance term inated a ut omatically, and/or to receive •
  refund of any Mortga&e Insurance premiums that were unearned at the time of s uch cancelladon or
  termination.
       11. Asslpment or Mlscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
  assigned to and shall be paid to Lender.
        If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
  the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
  During such repair and restoration period. Lender shall have the right to hold such Miscellaneous Proceeds
  until Lender bas had an opportunity to inspect such Property to ensure the work bas been completed to
  Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
  repairs and restoration in a single disbursement or in a series of progress payments as the work is
  completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
  Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
  Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security would
  be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security lostrwnent,
  whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
  applied in the order provided for in Section 2.
         In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
  Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
  the excess, if any, paid to Borrower.
         In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
  value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
  greater than the amount of the sums secured by this Security Instrument immediately before the partial
  taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
  secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
  multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
  partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
   immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
         In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
  value of the Property immediately before the partial taking, destruction, or loss in value is less than the
  amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
   Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
  secured by this Security Instrument whether or not the sums are then due.
         If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
  Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,
   Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authoriz.ed
   to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
   sums secured by this Security Instrument, whether or not then due. "Opposing Party" means the third party
   that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in
   regard to Miscellaneous Proceeds.
         Borrower shall be in default if any action or proceeding, wbether civil or criminal, is begun that, in
   Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's
   interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
   acceleration bas occurred, reinstate as provided in Section I 9, by causing the action or proceeding to be
   dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other m.aterial
   impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
   any award or claim for damages that are attributable to the impairment of Lender's interest in the Property
   are hereby assigned and shall be paid to Lender.
         All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
   applied in the order provided for in Section 2.



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        12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
  payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
  to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower
  or any Successors ill Interest of Borrower. Lender shall not be required to commence proceedings against
  any Successor ill Interest of Borrower or to refuse to extend time for payment or otherwise modify
  amortization of the sums =red by this Security Instrument by reason of any demand made by the original
  Borrower or any Successors ill Interest of Borrower. Any forbearance by Lender in exercising any right or
  remedy including, without limitation, Lender's acceptance of payments from third persons, entities or
  Successors ill Interest of Borrower or in amounts less than the amount then due, sha!J not be a waiver of or
  preclude the exercise of any right or remedy.
         13. Joint and Several Liability; Co-slpers; SucceMOrs and Assi&8' Bound. Borrower covenants
  and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
  co-signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this
  Security Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the
  terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
  Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
  make any accommodations with regard to the terms of this Security Instrument or the Note without the
  co-signer' s consent.
         Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
  Borrower's obligations under this Security Instrument in writing. and is approved by Lender, shall obtain
  all of Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
  Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release in
  writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
  Section 20) and benefit the successors and assigns of Lender.
         14. Loan Cbar&es. Lender may charge Borrower fees for services performed in connection with
   Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
   Security Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees.
   In regard to any other fees, the absence of express authority in this Security Instrument to charge a specific
   fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge
   fees that are expressly prohibited by this Security Instrument or by Applicable Law.
         If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
   that the illterest or other loan charges collected or to be collected in connection with the Loan exceed the
   permitted limlts, then: (a) any such loan charge shaJJ be reduced by the amount necessary to reduce the
   charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
   limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
   owed under the Note or by making a direct paym.ent to Borrower. If a refund reduces principal, the
   reduction will be treated as a partial prepayment without any prepayment charge (whether or not a
   prepayment charge is provided for under the Note). Borrower's acceptance of any such refund made by
   direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
   of such overcharge.
         15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
   must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
   have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
   notice address if sent by other means. Notice to any one Borrower shall constitute notice to aJJ Borrowers
   unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
   unless Borrower bas designated a substitute notice address by notice to Lender. Borrower shall promptly
   notify Lender of Borrower's change of address. lf Lender specifies a procedure for reporting Borrower's
   change of address, then Borrower shall only report a change of address through that specified procedure.
   There may be only one designated notice address under this Security Instrument at any one time. Any
   notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
   stated herein unless Lender bas designated another address by notice to Borrower. Any notice in
   connection with this Security Instrument shall not be deemed to have been given to Lender until actually
   received by Lender. If any notice required by th.is Security Instrument is also required under Applicable
   Law, the Applicable Law requirement will satisfy the corresponding requirement under this Security
   Instrument.


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         16. Governing Law; Sevenbility; R•les of Comtructlon. This Security lnstnunent shall be
  governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
  obligations contained in th.is Security Instrument are subject to any requirements and limitations of
  Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
  lllight be silent, but such silence shall not be CODSlrued as a prohibition against agreement by contract. In
  the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
  Law, sucb conflict shall not affect other provisions of this Security Instrument or the Note which can be
  given effect without the conflicting provision.
         As used in this Security Instrument: (a) words of the masculine gender shall mean and include
  corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
  include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
  take any action.
         17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument
         18. T nnsfer or the Property or a Beneficial lnterat la Borrower. As used in this Section 18,
  "Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
  to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
  escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.
         If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
  is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
  written consent, Lender may require immediate payment in full of all sums secured by this Security
  Instrument However, this option shall not be exercised by Lender if sucb exercise is prohibited by
   Applicable Law.
         If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
   provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
   within which Borrower must pay all sums secured by this Sec,urity Instrument If Borrower fails to pay
   these sums prior to the expiration of this period, Lender may invoke any remedies perlllitted by this
  Security Instrument without further notice or demand on Borrower.
         19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
   Borrower shall have the right to have enforcement of this Security lnstnunent discontinued at any time
   prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
   this Security Instrument; (b) such other period as Applicable Law might specify for the termination of
   Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security lnstnunent. Those
   conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
   Instrument and the Note as if no acceleration bad occurred; (b) cures any default of any other covenants or
   agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not limited
   to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
   purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and (d)
   takes such action as Lender may reasonably require to assure that Lender's interest in the Property and
   rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this Security
   Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and
   expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c)
   certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon
   an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
   Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby
  shall remain fully effective as if no acceleration bad occurred. However, this right to reinstate shall not
  apply in the case of acceleration under Section 18.
       20. Sale or Note; Cbaoge or Loan Servicer; Notice or Grievance. The Note or a partial interest in
  the Note (together with this Security Instrument) can be sold one or more times without prior notice to
  Borrower. A sale might result in a cbange in the entity (known as the "Loan Servicer") that collects
  Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
  servicing obligations under the Note, this Security Instrument, and App.licable Law. There also might be
  one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan
  Servicer, Borrower will be given written notice of the change which will state the name and address of the



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  new Loan Servicer, the address to which payments should be made and any other information RESPA
  requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
  serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
  to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
  assumed by the Note purchaser unless otherwise provided by the Note purchaser.
        Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
  individual litigant or the member of a class) that arises from the other party's actions pursuant to this
  Security I.nsttwnent or that alleges that the other party has breached any provision of, or any duty owed by
  reason of, tbis Security Instnunent, until such Borrower or Lender has notified the other party (with such
  notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
  other party hereto a reasonable period after the giving of such notice to take corrective action. If
  Applicable Law provides a time period which must elapse before certain action can be taken, that time
  period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
  opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
  Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
  action provisions of tbis Section 20.
        21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
  substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
  following substances: gasoline, kerosene, other flanunable or toxic petroleum. products, toxic pesticides
  and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
  (b) "Environmental Law" means federal laws and laws of the jurisdiction where the Property is localed that
  relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response
  action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
  Condition" means a condition that can cause, contribute to, or otherwise trigger an Environmental
  Cleanup.
        Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
   Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
   nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
   Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
   Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding
   two sentences sbaJJ not apply to the presence, use, or storage on the Property of small quantities of
   Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
   maintenance of the Property (including, but not limited to, hazardous substances in consumer products).
         Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
   or other action by any governmental or regulatory agency or private party involving the Property and any
   Hazardous Substance or Environmental Law of which Borrower bas actual knowledge, (b) any
   E11virorune11tal Condition, ill.eluding but not limited to, 811Y spilling, leaking, discharge, release or threat of
   release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
   Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
   by any governmental or regulatory authority, or any private party, that any removal or other remediation
   of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
   remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
   Lender for an Environmental Cleanup.




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       NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
       :2:2. Acceleration; Remedits. Lender sllall give notice to Borrower prior to acceleration following
  Borrower's brt1cb or any covenant or agreement in t11is Security Instrument (but not prior to
  acceleration under Section 18 Hless Applicable Law provides otherwise). The notice shall specify: (a)
  the default.; (b) the action required to cure the default; (c) a date, DOI less t.h an 30 days from the date
  the notice is given to Borrower, by wbicb tbe default must be cured; (d) tbat faUure to cure tbe
  default OD or before tlae date specified In tbe notice may result in acceleration or tlae sums secured by
  tltls Security Instrument, foreclosure by J•dlclal proceeding and sale of tbe Property; (e) tbe
  Borrower's right to reinstate after acceleration aDd tlle rlgbt to 115ert in tbe foreclosure proceeding
  tbe DOD-existence or a default or any other defense of Borrower to acceleration and foreclosure; and
  (f) any other disclosure requlred under the Fair .Foreclosure Act, codified at Sections lA:50-53 et seq.
  of tbe New Jeney Statutes, or other Applicable Law. If tbe default is not cured on or before the date
  specified In the notice, Lender at its option may require Immediate payment in full or all sums
  secued by this Security Instrument without further demand and may foreclose this Security
  Instrument by jadlclal prooeedlllg. Lender sllall be entitled to collect all expenses inc11rred In
  pursuing the remedies provided In this Section :2:2, incladlng, but not Umited to, attorneys' fees and
  costs or title evidence permitted by Rules of Court.

       :23. Release. Upoo payment of all sums secured by this Security Instrument, Lender sbali cancel this
  Security Instrument. Borrower shall pay any recordatioo costs. Lender may charge Borrower a fee for
  releasing this Security Instrument, but only if the fee is paid to a third party for services rendered and the
  charging of the fee is permitted uoder Applicable Law.

         :24. No Claim or Credit for Tues. Borrower will DOI make deduction from or claim credit on the
  Jl'"IDCipal or interest secured by this Security Instrument by reason of any govemme.ital taxes, assessments
  or charges. Borrower will not claim any deduction from the taxable value of the Property by reason of this
  Security Instrument.




  --t(NJ)(OOO$)                                     Plge 13 of 15                               Fonn 3031 1/01
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       BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
  Security Instrument and in any Rider executed by Borrower and recorded with it.

  Signed, sealed and delivered in the presence of:

             ~


                                                         _   _ _ _ __ _ _ _ _ _ _ (Seal)
                                                                                                 -Borrower




  _ _ _ _ _ _ _ _ _ _ _ _ (Seal)                         _ _ _ _ _ _ _ __ _ __                      (Seal)
                                           -Bonower                                              -Sorrower




  _ _ _ _ _ _ _ _ _ _ _ (Seal)                           _ __ _ _ _ _ __ _ _ _ (Seal)
                                           ·Borr0-                                               •Bonow..-




  _ _ _ _ _ _ _ _ _ _ _ (Seal)                           _ _ _ _ _ _ _ _ _ _ _ _ (Seal)
                                           -Borrower                                             -Borrower




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   STATE OF NEW JERSEY,              /1 ~/If/County u:
      On this      / (,            day of h ~ . '2,t:nr(.                      before me, the
                     Oaynlh/Year
   subscriber, personally appeared
                                            <S'/ ~ 7-A,4v/f_,,


   who, I am satisfied, ls/are the person(s) named in and who executed the within instrument, and
   thereupon acl<nowledged that he/she/they signed, sealed and delivered the same as his/her/their
   act and deed, for the purposes therein expressed.




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                                  ADJUSTABLE RATE RIDER
             (LIBOR Six-Month-Index (Al Publlthed In the Wall Street Journal)- Rate Ca~)
   THIS ADJUSTABLE RATE RIDER is made this 16th day of May , 2006 and is incorporated into
   and shall be deemed to amend and supplement the Mortgage, Deed of Trust or Security Deed
   (the "Security lnstrumenf') of the same date given by the undersigned (the "Bonower") to secure
   Sorrower's Adjustable Rate Note (the "Note") to Argent Mortgage Company, LLC (the "lend el") of
   the same date and covering the property described in the Security Instrument and located at


      744 NEW JERSEY AVENUE, LYNDHURST TOVVNSHIP, NJ 07071
                                           [Property Address)




            TilE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN TilE
            INTEREST RATE AND TilE MONTilLY PAYMENT. TilE NOTE LIMITS THE
            AMOUNT TilE BORROWER'S INTEREST RATE CAN CHANGE AT ANY ONE
            TIME AND TilE MAXIMUM RATE TilE BORROWER MUST PAY.
       ADDmONAL COVENANTS. In addition to the covenants and agreements made in the
    Security Instrument, Borrower and Lender further covenant and agree as follows:

   A. INTEREST RATE AND MONTHLY PAYMENT CHANGES
   The Note provides for an Initial interest rate of 9.750 %. The Note provides for changes in the
   interest rate and the monthly payments, as folloWs:

    4.   INTEREST RATE AND MONTHLY PAYMENT CHANGES
        (A) Change Dates
    The interest rate I will pay may change on the first day of June, 2008 , and on that day every
    sixth month thereafter. Each date on which my interest rate could change is called a "Change
    Date.•
       (B) The Index
   Beginning with the first Change Date, my interest rate will be based on an Index. The "Index" is
   the average of interbank offered rates for six-month U.S. dollar-denominated deposits in the
   London market ("LIBOR"), as published in the Wall Street Joumal. The most recent Index figure
   available as of the date 45 days before each Change Date is called the "Current Index.·

      If the Index is no longer available, the Note Holder will choose a new index which is based
    upon comparable information. The Note Holder will give me notice of this choice.

                                                                                   Initials   :::;::2,


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        (C) Calculation of Changes
         Before each Change Date, the Note Holder will calculate my new interest rate by adding
   six pe«:entage points { 6.000 %) to the Current Index. The Note Holder will then round the
   result of this addition to the nearest one~ighth of one percentage point {0.125%). Subject to the
   limits stated in Section 4(0) below, this rounded amount will be my new interest rate until the
   next Change Date.

   The Note Holder will then determine the amount of the monthly payment that would be sufficient
   to repay the unpaid principal that I am expected to c:Nte at the Change Date in full on the
   Maturity Date at my nf!W Interest rate In substantially equal payments. The result of this
   calculation will be the new amount of my monthly payment




         {D) limits on lntel'8tlt Rate Changes
   The Interest rate I am required to pay at the first Change Date will not be greater than 11.750%
   or .... than 9.750%. Thereafter, my interest rate will never be Increased or decreased on any
   single Change Date by more than One( 1.000 %) from the rate of interest I have been paying for
   the preceding six months. My interest rate will never be greater than 15.750)% or less than
   9.750)%.

        (E) Effective Date of Changes
   My new interest rate will become effective on each Change Date. I will pay the amount of my
   new monthly payment beginning on the first monthly payment date after the Change Date until
   the amount of my monthly payment changes again.
         IF) Notice of Cha~es
   The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the
   amount of my monthly payment before the effective date of any change. The notice will include
   information required by law to be given me and also the title and telephone number of a person
   who will answer any question I may have regarding the notice.

   B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
      Section 18 of the Security Instrument is amended to read as follows:
          Transfer of the Pro~ or a Beneflclal lntel'8tlt In Borrower. As used In this Section
      18, "Interest In the Property means any legal or beneficial Interest in the Property, including,
      but not limited to, those beneficial interests transferred In a bond fof deed, contract for deed,
      installment sales contract or escrow agreement, the Intent of which is the transfer of title by
      Borrower at a future date to a purchaser.



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       If all or any part of the Property or any Interest in the Property is sold or transferred (or if
   Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred)
   without Lender's prior written consent, Lender may require immediate payment in full of all sums
   secured by this Security Instrument However, this option shall not be exercised by Lender if
   such exercise Is prohibited by federal law. Lender also shall not exercise this option if: (a)
   Borrower causes to be sobmitted to Lender information required by Lender to evaluate the
   intended transferee as if a new loan were being made to the transferee; and (b) Lender
   reasonably determines that Lender's security will not be impaired by the loan assumption and
   that the risk of a breach of any covenant or agreement in this Security Instrument is acceptable
   to Lender.
       To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a
   condition to Lender's consent to the loan assumption. Lender may also require the transferee to
   sign an assumption agreement that is acceptable to Lender and that obligates the transferee to
   keep all the promises and agreements made in the Note and in this Security Instrument.
   Borrower will continue to be obligated under the Note and this Security Instrument unless Lender
   releases Borrower in writing. If Lender exercises the option to require immediate payment in full,
   Lender shall give Borrower notice of acceleration. The notice shall provide a period of not less
   than 30 days from the date the notice is given in accordance with Section 15 within which
   Borrower must pay all sums secured by this Security Instrument. ff Borrower fails to pay these
   sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
   Security Instrument without further notice or demand on Borrower.

   BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
   this Adjustable Rate Rider.




                                               (Seal)                                              (Seal}
                                                              Borrower




  = - - - - -- -- - -- - - -(Seal)                                                                 {Seal)
   Borrower                                             Borrower




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                                    1-4 FAMILY RIDER
                                          (Assignment or Rents)
       TIUS1-4FAMILYRIDERismadethis16th                       dayofMay, 2006
  and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or
  Security Deed (the "Security Instrument") of the same date given by the undersigned (the "Borrower") to
  secure Borrower's Note to Ar9ant Mort9a9a Coapany, LLC

                                                                                                       (the
  "Lender") of the same date and covering the Property described in the Security Instrument and located at:
                 744 Ill JIRSlt AVIIUI, LtlDBURS! !OIHSBIP , NJ 07071

                                                (Propcny Address]


        1-4 FAMILY COVENANTS. In addition to the covenants and agreements made in the Security
  Instrument, Borrower and Lender further covenant and agree as follows:

        A. ADDITIONAL PROPERTY SUBJECT TO THE SECURITY INSTRUMENT. In addition to
  the Property described in the Security Instrument, the following items now or hereafter attached to the
  Property to the extent they are fixtures are added to the Property description, and shall also constitute the
  Property covered by the Security Instrument: building materials, appliances and goods of every nalure
  whatsoever now or hereafter located in, on, or used, or intended to be used in connection with the
  Property, including, but not limited to, those for the purposes of supplying or distributing heating,
  cooling, electricity, gas, water, air and light, fire prevention and extinguishing apparatus, security and
  access control apparatus, plumbing, bath tubs, water heaters, water closets, sinks, ranges, stoves,
  refrigerators, dishwashers, disposals, washers, dryers, awnings, storm windows, storm doors, screens,
  blinds, shades, curtains and curtain rods, attached mirrors, cabinets, paneling and attached floor coverings,
  all of which, including replacements and additions thereto, shall be deemed to be and remain a part of the
  Property covered by the Security Instrument. All of the foregoing together with the Property described in
  the $eQuity Instrument (or the leasehold estate if the $eQuity Instrument is on a leasehold) are referred to
  in this 1-4 Family Rider and the $eQuity Instrument as the "Property."


  MULTISTATE 1-4 FAMILY AIDER- fMNe Maellffddle Mac UNIFORM INSTRUM91T              lnltials:....s:::::?.
                                             Page 1 of 4                                        Fonn !110 1 /01
  ~7R(0008)                         VMP MORTGAGE FORMS· (800)521-7291          05/16/2006 7:06:54 AM
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       B. USE OF PROPERTY; COMPLIANCE WITH LAW. Borrower shall not seek, agree to or make
  a change in the use of the Property or its mning classification, unless Lender has agreed in writing to the
  change. Borrower shall comply with all laws, ordinances, regulations and requirements of any
  governmental body applicable to the Property.

        C. SUBORDINATE LIENS. Except as permitted by federal law, Borrower shall not allow any lien
  inferior to the Security Instrument to be perfected against the Property wi.thout Lender' s prior written
  permission.

       D. RENT LOSS INSURANCE. Borrower shall maintain insurance against rent loss in addition to
  the other hazards for which insurance is required by Section 5.

       E. ''BORROWER'S RIGHT TO REINSTATE" DELETED. Section 19 is deleted.

       F. BORROWER'S OCCUPANCY. Unless Lender and Borrower otherwise agree in writing.
  Section 6 concerning Borrower's occupancy of the Property is deleted.

       G. ASSIGNMENT OF LEASES. Upon Lender's request after default, Borrower shall assign to
  Lender all leases of the Property and all security deposits made in connection with leases of the Property.
  Upon the assignment, Lender shall have the right to modify, extend or terminate the existing leases and to
  execute new leases, in Lender's sole discretion. As used in this paragraph G, the word "lease" shall mean
  "sublease" if the Security Instrument is on a leasehold.

        R ASSIGNMENT OF RENTS; APPOINTMENT OF RECEIVER; LENDER IN POSSESSION.
  Borrower absolutely and unconditionally assigns and transfers to Lender all the rents and revenues
  ("Rents") of the Property, regardless of to whom the Rents of the Property are payable. Borrower
  authorizes Lender or Lender's agents to collect the Rents, and agrees that eacll tenant of the Property shall
  pay the Rents to Lender or Lender's agents. However, Borrower shall receive the Rents until: (i) Lender
  bas given Borrower notice of default pursuant to Section 22 of the Security Instrument, and (ii) Lender bas
  given notice to the tenant(s) that the Rents are to be paid to Lender or Lender's agent. This assignment of
  Rents constitutes an absolute assignment and not an assignment for additional security only.
        If Lender gives notice of default to Borrower: (i) all Rents received by Borrower shall lbe held by
  Borrower as trustee for the benefit of Lender only, to be applied to the sums secured by the Security
  Instrument; (ii) Lender shall be entitled to collect and receive all of the Rents of the Property; (iii)

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  Borrower agrees that each tenant of the Property shall pay all Rents due and unpaid to Lender or Lender's
  agents upon Lender's written demand to the tenant; (iv) unless applicable law provides otherwise, all Rents
  collected by Lender or Lender's agents shall be applied first to the costs of taking control of and managing
  the Proper1y and collecting the Rents, including, but not limlted to, attorney's fees, receiver's fees,
  prem.iwns on receiver's bonds, repair and maintenance costs, insurance prerniwns, taxes, assessments and
  other charges on the Pr0per1y, and then to the sums secured by the Security Instrument; (v) Lender,
  Lender's agents or any judicially appointed receiver shall be liable to account for only those Rents actually
  received; and (vi) Lender shall be entitled to have a receiver appointed to take possession of and manage
  the Property and collect the Rents and profits derived from the Proper1y without any showing as to the
  inadequacy of the Proper1y as security.
        If the Rents of the Pr0per1y are not sufficient to cover the costs of taking control of and managing the
  Proper1y and of collecting the Rents any funds expended by Lender for such purposes shall become
  indebtedness of Borrower to Lender secured by the Security lnstrwnent pursuant to Section 9.
        Borrower represents and warrants that Borrower bas not executed any prior assignment of the Rents
  and has not performed, and will not perform, any act that would prevent Lender from exercising its rights
  under this paragraph.
        Lender, or Lender's agents or a judicially appointed receiver, shall not be required to enter upon,
  take control of or maintain the Proper1y before or after giving notice of default to Borrower. However,
  Lender, or Lender's agents or a judicially appointed receiver, may do so at any time when a default occurs.
  Any application of Rents shall not cure or waive any default or invalidate any other right or remedy of
  Lender. This assignment of Rents of the Property shall terminate when all the sums secured by the Security
  Instrument are paid in full.

        I. CROSS-DEFAULT PROVISION. Borrower's default or breach under any note or agreement in
  which Lender bas an interest shall be a breach under the Security Instrument and Lender may invoke any of
  the remedies permitted by the Security Instrument.




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       BY SIGNING BELOW, Borrower aa:epts and agrees to the terms and provisions contained in this
  1-4 Family Rider.



                                                     _ __ _ _ _ _ _ _ _ __ (Seal)
  -SI_II_O--'~~l:iill-=00:...R
               _________       Bo~
                                                                                          -Borrower




  _ _ _ _ _ _ _ _ _ _ _ _ (Seal)                     _ _ _ _ _ __ _ _ _ _ _ (Seal)
                                        -Bonower                                          -Borrower




  _ _ _ _ _ __ _ _ _ _ _ (Seal)                      _ _ _ _ _ _ __ _ _ _ (Seal)
                                        ~Borrowu                                          -Borrower




  _ _ _ _ __ _ _ _ _ _ _ (Seal)                      _ _ _ _ _ _ _ _ _ _ _ _ (Seal)
                                        -Borrower                                         -Borrowu




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                                                                                                   14 - 018230   Ass1gn aent of Mortgage
                                                                                                   V Bk : 01 63 9 Pg : l00S-l006Re c r •• $63.00
                                                                                                   Jobn S Ho9an . Berqe n County Cl e r~
                                                                                                   Recorded 03/24 /201 4 11 : 19 : 06 AM




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            AP!\• LOT 5 RI.OCK 166                ::..:---
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                                                Cl,i'/P(   ~ ·II, 1/C° V ~~
                                 CORRECTIVE ASSIGNMENT OF MORTGAGE
                                             NEW JERSEY
            THE PURPOSE OF THIS CORRECTIVE ASSIGNMENT IS TO CORRECT THF: ASSIGNEE ON THE
            ASSI GNMENT RECORDED ON OCTOBER 28, 2009 IN BOOK 278AT PAGE 2101 .,,.
                                                                                                                                                           /
            This ASSIGNMENT OF MORTGAGE from ARGENT MORTGAGE COMPANY, LLC , whose address is c/o
            Ocwen Loan Servicing, LLC. 5720 Premier Park Dr, West Palm Beach, FL 33407 ("Assignor") to U.S. BANK,
            NATIONAL ASSOCIATION, AS TRUSTEE FOR CITIGROUP )10RTGAGE LOAN TRUST INC.,
            ASSET-BACKED PASS-THROUGH CERTIFICATES, SERIES 2006-AMCI whose address is c/o Ocwen
            Loan Servicing, LLC. S720 Prerni~r Park Dr, West Palm Beach, FL 33407 ("Assignee").

                      For good and valuable consideration. the receipt and sufficiency of which is hereby acknowledged, the
            Assignor does by these pre~ents hereby grant, bargain, sell, transfer and set over unto the Assignee, its successors,
            transfe rees and assigns forever. all of the right, title and interest of said Assignor in and to the following instrument
            describing land therein, duly recorded in the Office ofthc Public Records of BERG EN County, State of New Jersey,
            as follows:
            ~1ongagor: SIMON ZAROCR
            Mongagee: ARGENT MORTGAGE COMPANY, LLC.
             \fongagc Date· MAY 16. 2006
            Amount· S 378,000.00
            Recorded JUN E OI, 2006
       i    Book: 15966
      /     rage· 405
            Instrument: 66070
            Propen) address: 744 NEW JERSCY AVENUE, LYNDHURST, NJ 07071
            This Assignment is made without recourse, representation or warranty.

            In Witness Whereof, the said Assignor has hereunto set his hand and seal or caused these presents to be signed by its
            proper corporate officers and its corporate seal to be hereto affixed this 20TH day of FEBRUARY, 2014

                                                                             ARGENT MORTGAGE COMPANY, LLC
                                                                             BY ITS ATTORNEY-IN-FACT
                                                                             CITI RESIDEN TIAL LENDING, INC.

            Signed, Sealed and Delivered _ )


            ,,,,,,~~~-~-----~                                                                              Joel Pires

            Witnes~ed by: _ _ _ _ _ _ Leticia N. Artas
            Title: Vice President

            STATE OF 17LORIDA, COUNTY OF PALM BEA~fi:1a N. Arias
            I CERTIFY that on FEBRUARY 20, 201 4. _ _ __ _ _ __                                  personally came before me and stated
            under oath to my satisfac:ion tha1:
                     (a) this person was the subscribing witness to the signing of the attached instrument;
                     (b) this instrument was signed by                   Joel Pires                   , who is the Vice President at
                     C ITI RESIDENTIAL LENDING, INC. ATTOR EY IN FACT ARGENT MORTGAGE
                     COMPANY, LLC , the entity named in this instrument, and was fully authorized to and did execute this
                     instrument on its behalf;
                     (c) the subsc ribing witness signed this proof under oath to attest to the trut' fpthese facts.
            Signed and sworn to before me on 17EBRUARY 20, 20 14                              "'1,L)
                                                                                       Notary P~lic -,'3fiavetie... ~ hurpe.-




Bergen County Clerk                                    V BK 01639 PG 1005                                                                                          1 of 2
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                               '

                                   MA.TIU. NO.



                                                                       LEGAL Dl!SCRIP1!0N

                                        PROPf.Rli' ADDRESS:              744 New Jmcy Ave
                                        BLOCK .AND LOT:                  Lol(s) S, Blou 166
                                        CITY:                            Township ol Lyndhurst
                                        COUNTY:                          BERGEN




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       .   "

                                  ADJUSTABLE RA TE NOTE
                                          (LIBOR Index - Rate Caps)

 THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY INTEREST RATE AND MY MONTHLY
 PAYMENT. THIS NOTE LIMITS THE AMOUNT MY INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE
 MAXIMUM RATE I MUST PAY.



           May 16, 2006                                \Nhite Plains                                           NY
           Date                                         City                                           Sta18

                               744 NEW JERSEY AVENUE, LYNDHURST TOWNSHIP, NJ 07071
                                                     Property Address

1. BORROWER'S PROMISE TO PAY
   In return for a loan that I have received, I promise to pay U.S. $ 378,000.00 (this amount is called "principal"), plus
   interest, to the order of the Lender. The Lender is Argent Mortgage Company, LLC.

   I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who
   is entitled to receive payments under this Note is called the "Note Holder."

2. INTEREST
   Interest will be charged on unpaid principal until the full amount of principal has been paid. I will pay interest at a
   year1y rate of 9.750 %. This interest rate I will pay may change in accordance with Section 4 of this Note. The
   interest rate required by this Section 2 and Section 4 of this Note is the rate I will pay both before and after any
   default described in Section 7(6) of this Note.


3. PAYMENTS
   (A) Time and Place of Payments
      I will pay principal and interest by making payments every month.
      I will make my monthly payments on the first day of each month beginning on July 1, 2006.
      I will make these payments every month until I have paid all of the principal and interest and any other charges
      described below that I may owe under this Note. My monthly payments will be applied to interest before principal.
      If, on, June 1, 2036 , I still owe amounts under this Note, I will pay those amounts in full on that date, which is
      called the "Maturity Date."
      I will make my payments at:       505 City Parkway West, Suite 100, Orange, CA 92868

     or at a different place if required by the Note Holder.
   (B) Amount of My lnltlal Monthly Payments
      Each of my initial monthly payments will be in the amount of U.S.$ 3,247.61. This amount may change.
   (C) Monthly Payment Changes
       Changes in my monthly payment will reflect changes in the unpaid principal of my loan and in the interest rate
       that I must pay. The Note Holder will determine my new interest rate and the changed amount of my monthly
       payment in accordance with Section 4 of this Note.

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES
   (A) Change Oates
      The interest rate I will pay may change on the first day of, June, 2008 and on that day every sixth month
      thereafter. Each date on which my interest rate could change is called a "Change Date."
   (B) The Index
      Beginning with the first Change Date, my interest rate will be based on an Index. The "Index" is the average of
      interbank offered rates for six-month U.S. dollar-denominated deposits in the London market ("LIBOR"), as
      published in The Wall Street Journal. The most recent Index figure available as of the date 45 days before the
      Change Date is called the "Current Index."
      If at any point in time the Index is no longer available, the Note Holder will choose a new index that is based upon
      comparable information. The Note Holder will give me notice of this choice.
   (C) Calculation of Changes
       Before each Change Date, the Note Holder will calculate my new interest rate by adding six percentage point(s)
       (6.000%) to the Current Index. The Note Holder will then round the result of this addition to the nearest one-eight
      of one percent (0.125%). Subject to the limits stated in Section 4(D) below, this rounded amount will be my new
       interest rate until the next Change Date. The Note Holder will then determine the amount of the monthly payment
      that would be sufficient to repay the unpaid principal that I am expected to owe at the Change Date in full on the
       Maturity Date at my new interest rate in substantially equal payments. The result of this calculation will be the
       new amount of my monthly payment.




                                                                                         Initials:   :S::2

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             f'
  (0) Limits on Interest Rate Changes
       The interest rate I am required to pay at the first Change Date will not be greater than 11.750 % or less than
       9.750% . Thereafter, my interest rate will never be increased or decreased on any single Change Date by more
       than One percentage point(s) 1.000%) from the rate of interest I have been paying for the preceding six months.
       My interest rate will never be greater than 15.750 % or less than 9.750 %.

  (E) Effective Date of Changes
        My new interest rate will become effective on each Change Date. I will pay the amount of my new monthly
        payment beginning on the first monthly payment date after the Change Date until the amount of my monthly
        payment changes again.
  (F) Notice of Changes
        The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the amount of my
        monthly payment before the effective date of any change. The notice will include information required by law to be
        given me and also the title and telephone number of a person who will answer any question I may have regarding
        the notice.
   5. PREPAYMENT PRIVILEGE
      I may repay all or any part of the principal balance of this Note in accordance with the terms of this Section without
      incurring a prepayment charge. A "prepayment" is any amount that I pay in excess of my regularly scheduled
      payments of principal and interest that the Lender will apply to reduce the outstanding principal balance on this Note
      in accordance with this Section.
      (A) Application of Funds
        I agree that when I indicate in writing that I am making a prepayment, the Lender shall apply funds it receives in
        accordance with the order of application of payments set forth in Section 2 of the Security Instrument.
      (B) Monthly Payments
        If I make a prepayment of an amount less than the amount needed to completely repay all amounts due under this
        Note and Security Instrument, my regularly scheduled payments of principal and interest will not change as a
        result.




  6. LOAN CHARGES
  If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or
  other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (i) any
  such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (ii) any
  sums already collected from me which exceeded permitted limits will be refunded to me. The Note Holder may
  choose to make this refund by reducing the principal I owe under this Note or by making a direct payment to me. If a
  refund reduces the principal, the reduction will be treated as a partial prepayment.
  7. BORROWER'S FAILURE TO PAY AS REQUIRED
  (A) Late Charges for Overdue Payment
  If the Note Holder has not received the full amount of any monthly payment by the end of fifteen
  calendar days after the date it is due, I will pay a late charge to the Note Holder.
  The amount of the charge will be 5.000 % of my overdue payment of principal and interest.
  I will pay this late charge promptly but only once on each late payment.
  (B) Default
  If I do not pay the full amount of each monthly payment on the date it is due, I will be in default.
  (C) Notice of Default
  If I am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue
  amount by a certain date, the Note Holder may require me to pay immediately the full amount of principal which
  has not been paid and all the interest that I owe on that amount. The date must be at least 30 days after the
  date on which the not.Ice is delivered or mailed to me.
  (D) No Waiver by Note Holder
  Even if, at a time when I am in default. the Note Holder does not require me to pay immediately in full as
  described above, the Note Holder will still have the right to do so if I am in default at a later time.
  (E) Payment of Note Holder's Costs and Expenses
  If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the
  right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by
  applicable law. Those expenses include, for example, reasonable attorneys• fees.

  8. GIVING OF NOTICES
  Unless applicable law requires a different method, any notice that must be given to me under this Note will be given
  by delivering it or by mailing it by first class ma.ii to me at the Property Address above or at a different address if I
  give the Note Holder a notice of my different address.
  Any notice that must be given to the Note Holder under this Note will be given by mailing it by first class mail to the
  Note Holder at the address stated in Section 3(A) above or at a different address if I am given notice of that
  different address.




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9.     OBLIGATIONS OF PERSONS UNDER THIS NOTE
       If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
       made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or
       endorser of this Note is also obligated to do these things. Any person who takes over these obligations, including
       the obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in
       this Note. The Note Holder may enforce its rights under this Note against each person individually or against all of
       us together. This means that any one of us may be required to pay all of the amounts owed under this Note.

10. WAIVERS
       I and any other person who has obligations under this Note waive the rights of presentment and notice of dishonor.
       "Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor"
       means the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

11.    UNIFORM SECURED NOTE
      This Note is a uniform instrument with limited variations in some jurisdictions. In addition, to the protections given to
      the Note Holder under this Note, A Mortgage, Deed of Trust or Security Deed (the "Security Instrument"}, dated the
      same as this Note, protects the Note Holder from possible losses which might result if I do not keep the promises
      that I make in this Note. That the Security Instrument describes how and under what conditions I may be required to
      make immediate payment in full of all amounts I owe under this Note. Some of those conditions are described as
      follows:
              Transfer of the Property or a Beneficial Interest in Borrower. If all or any part of the Property or any interest in
      it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower is not a natural
      person) without the Lender's prior written consent, Lender may, at its option, require immediate payment in full of all
      sums secured by this Security Instrument. However, this option shall not be exercised by Lender if exercise is
      prohibited by federal law as of the date of this Security Instrument. Lender also shall not exercise this option if: (a)
      Borrower causes to be submitted to lender information required by Lender to evaluate the intended transferee as if a
      new loan were being made to the transferee; and (b) Lender reasonable determines that Lender's security will not be
      impaired by the loan assumption and that the risk of a breach of any covenant or agreement in this Security
      Instrument is acceptable to Lender.
              To the extent permitted by applicable law, Lender may charge a reasonable fee as a condition of Lender's
      consent to the loan assumption. Lender may also require the transferee to sign an assumption agreement that is
      acceptable to lender and that obligates the transferee to keep all the promises and agreements made in the Note and
      in this Security Instrument. Borrower will continue to be obligated under the Note and this Security Instrument unless
      lender releases Borrower in writing.
              If Lender exercises the option to require immediate payment In full, Lender shall give Borrower notice of
      acceleration. The notice shall provide a period of not less than 30 days from the date the notice is delivered or
      mailed within which the Borrower must pay all SUMS secured by this Security Instrument. If Borrower fails to pay
      these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
      Instrument without further notice or demand on Borrower.




Oral agreements, promises or commlbnents to lend money, extend credtt, or forbear from enforcing repayment
of a debt, Including promises to extend, modify, renew or waive such debt, are not enforceable. Thia written
agreement contains all the terms the Borrower(s) and the Lender have agreed to. Any subsequent agreement
between us regarding this Note or the Instrument which secures this Note, must be In a signed writing to be
legally enforceable.
                                                                  PAY TO THE ORDER OF

                                                                               WITHOUT RECOURSE
WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.                            ARGENT MORT     COMPANY, LLC
                                                                               BY:          ..
                                                                                     SAM M~ {ZOLJ~          ESID
                                                                               BY. _ _/_ 0.1::1L     f ·~
                                                                                     GR t:G0''\ · r, H.ll.M:3o N. C.F.O.
                                                      (Seal)           =-- -- -- -- -- - --                          - -(Seal)
ao4       er SIMON ZAROUR                                              Borrower




,,,__ _ _ __ _ _ __ _ __ _ __ (Seal)
                                                                       ~ -- - --          - - --         - - --            - (Seal)
Borrower                                                               Borrower




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                            Exhibit B
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     Return To:
     American Brokers Conduit
     4650 Regent Blvd., Suite 100
     Irving, TX 75063-22SO

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                                                                                     Kathleen A, Donovan Re· ·-' :•,s Fae W).~')
     Prepared By:                                                                    Bergen Counb Clerk
     LuAnn Drexler                                                                   Recorded 03/28/2007 09;
     65 Jackson Avenue
     Cranford, NJ
     07016


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                                                 MORTGAGE
                                                                        MIN




     DEFIN ITIONS

     Words used in multiple sections of this document are defined below and other words are defined in Sections
     3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided
     in Section 16.

     (A) ''Security Instrument" means this document, which is dated March 21 , 2007
     together with all Riders to this documenL
     (8) "Borrower" is Simon Zarour




     Borrower is the mortgagor under this Security lnstrumenL
     (C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting
     solely as a nominee for Lender and Lender's successors and assigns. MERS is tbe mortgagee under thb
     Se<:urity Instrument, MERS is organized and existing under the laws of Delaware, and has an address and
     telephone number of P.O. Box 2026, Flint, Ml 48501-2026, tel. (888) 679-MERS.

     NEW JERSEY • s;oglc Fam;ly • Faolli< MwFreddlt     Mu UNIFORM INSTRUMENT WITU MERS

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     (D) ''under" is American Brokers Conduit:

     Lender is a Corporation
     organized and e><isting under the laws of State of New York
     Lender's address is 538 Broadhollow Road, Melville, NY                        11747

     (E) "Note" means the promissory oote signed by Borrower and dated March 2l, 2007
     The Note states that Borrower owes Lender Three Hundred Thirty Two Thousand Two
     Hundred Forty and No/100                                                                                 Dollars
     (U.S. la3 2, 2 4 O • 00              ) plus interest. Borrower has promised to pay this deb< in regular Petiodic
     Payments and to pay the debt in full not later than     April l, 2037
     (F) ''Properly" means the property that is described below under the heading "Transfer of Rights in the
     Property."
     (G ) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
     due under the Note, and all sums due under this Security Insaument. plus interest.
     (H ) ''Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
     Riders are to be executed by Borrower [check box as applicable] :

     D Adjustable Rate Rider       D    Condominium Rider                   D Second Home Rider
     D Balloon Rider               D    Planned Unit Development Rider      tiJ 1-4 Family Rider
     OvA Rider                     D    Biweekly Payment Rider              D Other(s) [specify]

     (I) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
     ordinances and administrative rules and orders (that have the effect of law) as well as aU applicable final,
     non-appealable judicial opinions.
     (J) "Community A$$oclalion Dues, Fees, and Ass°"me.n ts" means all dues, fees, assessments and other
     charges that are imposed on Borrower or the Property by a condominium association, homeowners
     association 0< similar organization.
     (K) ''Electronlc Funds Transfer" means any transfer of funds, other than a transaction originated by check,
     draft, or similar paper insaument, which is initiated through an electronic termina.l, telephonic instrument,
     computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
     account.. Such term includes, but is not limited to, point-of-sale transfers, automated teller machine
     transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
     (L) "Escrow Items" means those items that are described in Section 3.
     (M) "Mlscellaneous Procttds" means any compensation, settlement, award of damages, or proceeds paid by
     any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
     damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property;
     (iii) conveyance in lieu of condemnation; or (iv) misrepresentatioos of, or omissions as to. the value and/or
     condition of the Property.
     (N) ''Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the
     Loan.
     (OJ "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
     Note, plus (ii) any amounts under Section 3 of this Security lnsaument.
     (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
     implementing regulation, Regulation X (24 C. F. R. Part 3500), as they might be amended from time to time,
     or any additional or successor legislation or regulation that governs the same subject matter. As used in this
     Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regatd to a
     "federally related mongage loan" even if the Loan does nOt qualify as a • federally related mongage loan•
     under RESPA.

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     (Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or 001
     that party has assumed Borrower's obligations wider the Note and/or this Security Instrument

     TRANSFER OF RJGHTS IN THE PROPERTY

     This Security 1.nstrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
     modifications of the Note; and (ii) the performance of Borrower's covenants and agreements
     wider this Security !nsll'UOlent and the Note. For these pw-poses, Borrower does hereby mortgage, grant and
     convey to MERS (solely as nominee for Lender and Lender's successors and assigns) and to the
     successors and assigns of MERS the following described property located in the
     County                                                of Bergen
                  [Type of Rec«ding Jurisdiction)                          (Naro• ofReconliog Jurisdi<:lion)
     SEE ATTACHED LEGAL DESCR I PTION




     Property Account Number: 17 - 02708-0000 - 00016-0000                          which currently has the address of
     6 Harris Pl ace                                                                                                 (SttcetJ
     Fair Lawn                                                        (Cil)'J, New Jersey 07410                  [ZipCooeJ
     ("Property Address"):

           TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
     appurtenances, and fixtures now or hereafter a pan of the property. All replacements and additions shall also
     be covered by this Security lnsll'UOlent All of the foregoing is referred to in this Security lnsll'UOlent as the
     "Property.• Borrower understands and agrees that MERS holds only legal title to the interests granced by
     Borrower in this Security lnstrumen~ bu~ if necessary to comply with law or custom, MERS (as nominee for
     Lender and Lender's successocs and assigns) has the right: to exercise any or all of those interests, including,
     but not limited to, the right to foreclose and sell the Property; and to lake any action required of Lender
     including, but 001 limited to, releasing and canceling this Security Instrument
           BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
     the right to grant and convey the Property and that the Property is unencumbered, except for encumbrances of
     record. Borrower warrants and will defend generally the title to the Property against all claims and demands,
     subject to aoy encumbrances of record.
           THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
     covenants with limited variations by jurisdiction to constitute a uniform security insll'UOlent covering real
     property.

     DOC   #

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            UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
             I. Payment of Principal, Interest, Escrow Iterru, Prepayment Charge$, and Late Charges.
      Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
      prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
      pursuant to Section 3. PaymentS due under the Note and this Security Instrument shall be made in U.S.
      currency. However, if any check or other instrument received by Lender as payment under the Note or this
      Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent paymentS
      due under the Note and this Security Instrument be made in one or more of the following forms, as selected
      by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check.
      provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
      instrumentality, or entity; or (d) Electtooic funds Transfer.
            Payments are deemed received by Lender when received at the location designated in the Note or at
      such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
      Lender may return any payment or partial payment if the payment or partial payments are insufficient to bring
      the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan current,
     without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial payments in
      the future. If Lender accepts such payments, it shall apply such paymentS at the time such payments are
     accepted No offset or claim which Borrower might have now or in the future against Lender shall relieve
      Borrower from making paymentS due under the Note and this Security Instrument or performing the
     covenants and agreementS secured by this Security Instrument.
            2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
     accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the
     Note; (b) principal due under the Note; (c) amounts due under Section 3. Such paymeots shaU be applied to
     each Periodic Payment in the order in which it became due. Any remaining arnountS shall be applied first to
     late charges, second to any other amounts due under this Security Instrument, and then to reduce the principal
     balance of the Note.
            If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
     sufficient amount 10 pay any late charge due, the payment may be applied to the delinquent payment and the
     late charge. If more than one Periodic Payment is outstandiog, Lender may apply any payment received from
     Borrower to the repayment of the Periodic Payments if, and 10 the extent that, each payment can be paid in
     full. To the extent that any excess exists after the payment is applied to the full payment of one or more
     Periodic PaymentS, such excess may be applied to any late charges due. Voluntary prepayments shall be
     applied first to any prepayment charges and then as described in the Note.
            Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
     Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
            3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
     the Note, until the Note is paid in full, a sum (the "funds") to provide for payment of amounts due for: (a)
     taxes and assessments and other items which can attain priority over this Security Instrument as a lien or
     encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums
     for any and all insurance required by Lender under Section S; and (d) Mortgage Insurance premiums, if any,
     or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
     accordance with the provisions of Section 10. These items are called "Escrow Items." At origination or at any
     time during the term of the Loan, Lender may require that Community Association Dues, Fees, and
     Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
     Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower
     shall pay Lender the funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds
     for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or all
     Escrow Items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower
     shall pay directly, when and where payable, the arnountS due for any Escrow Items for which payment
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     of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evideocing such
     payment within such time period as Lender may require. Borrower's obligation to make such payments and
     to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
     lnsttument. as the phrase "covenant and agreement" is used in Section 9. If Borrower is obligated to pay
     Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item,
     Leoder may exercise its rights uoder Section 9 and pay such amount and Borrower shall then be obligated
     under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or aU Escrow
     Items at any time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall
     pay to Leoder all Funds, aod in suc.b amounts, that are then required under this Section 3.
           Lender may, at any time, collect and bold Funds in an amount (a) sufficient to permit Lender to apply
     the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
     require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
     reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
           The Funds shall be held in an institution whose deposits are insured by a federal agency, insttumentality,
     or entity (including Lender, if Lender is an institution whose deposits are so insured} or in any Federal Home
     Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified uoder
     RESPA. Lender shall not charge Borrower for holding and applying the Funds. annually analyzing the
     escrow account. or verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and
     Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing or Applicable
     Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any interest or
     earnings on the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the
     Funds. Lender shall give 10 Borrower, without charge, an arutual accounting of the Fuods as required by
     RESPA.
           If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shaU account to
     Borrower for the excess funds in accordance with RESPA. If there is a shorlllge of Funds held io escrow, as
     defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
     Lender the amount necessary 10 make up the shorlllge io accordance with RESPA, but in no more than 12
     monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
     notify Borrower as required by RESPA, and Borrower shall pay 10 Lender the amount necessary to make up
     the deficiency in accordance with RESP A, but in no more than 12 monthly payments.
           Upoo payment in full of all sums secured by this Security IDS11Ument, Lender shall promptly refund 10
     Borrower any Funds held by Lender.
           4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
     attribulllble to the Property which can attain priority over this Security Instrument. leasehold payments or
     ground rents on the Property, if any, and Community Association Dues, Fees. and Assessments, if any. To the
     extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
           Borrower shall promplly discharge any lien which has priority over this Security lnsirwneo1 unless
     Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
     Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or
     defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
     enforcement of the lien while those proceedings are pending, but only until such proceedings are coocluded;
     or (c) sec.u res from the holder of the lien an agreement satisfactory to Lender subordinating the lien to this
     Security lnsttument. If Lender determines that any part of the Property is subject to a lien which can attain
     priority over this Security Instrument, Lender may give Borrower a notice identifying the




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      lien. Within IO days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
      more of the actions set forth above in this Section 4.
             Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
      service used by Lender in connection with this Loan.
            5. Pro~rty Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
      Property insured against loss by fire, hazards included within the term "ext.eoded coverage,• and any other
      hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance. This
      insurance shall be maintained in the amounts (including deduetible levels) and for the periods that Lender
      requires. What Lender requires pursuant 10 the preceding sentences can change duri.ng the term of the Loan.
      The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's right to
      disappro"" Borrower's choice, which right shall not be exercised unreasonably. Lender may require
      Borrower to pay, in connection with this Loan, eilher: (a) a one-time charge for flood woe determination,
      certification and tracking services; or (b) a oae.time charge for flood woe determination and certification
      services and subsequent charges each time remappings or similar changes occur which reasonably might
     affect such determination or certification. Borrower shall also be responsible for the payment of any fees
      imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
     determination resulting from an objection by Borrower.
            If Borrower fails ro maintain any of the coverages described above, Lender may obtain insurance
     coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
     particular type or amount of coverage. Therefore, such co""rage shall cover Lender, but might or might not
     protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk, hazard
     or liability and might provide greater or lesser coverage than was previously in effecL Borrower
     acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
      insurance that Borrower could have obtained Any amounts disbursed by Lender under this Section 5 shall
     become additional debt of Borrower secured by this Securily lnstrumenL These amounts shall bear interest at
     the Note rate from the date of disbursement and shall be payable, with such interest, up0n notice from Lender
     to Borrower requesting payment
            All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
     right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
     mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
     certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
     renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender, for
     damage to, or destruction of, the Property, such p0licy shall include a standard mortgage clause and shall
     name Lender as mortgagee and/or as an additional loss payee.
            In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
     make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in
     writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be
     applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
     Lender's security is not lessened. During such repair and resroration period, Lender shall have the right to
     hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work
     has been completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly.
     Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
     payments as the work is completed Unless an agreement is made in writing or Applicable Law requires
     interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or
     earnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not be
     paid out of the insurance proceeds and shall be the sole obligation of Borrower. Jfthe restoration or repair is
     not economically feasible or Lender' s security would be lessened, the insurance prooeeds shall be applied to
     the sums secured by this Securiiy Instrument, whether or not then due, with the excess, if any, paid to
     Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
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            If Borrower abandons the Property, Lender may file, negotiate and senle any available insurance claim
      and related matters. If Borrower docs not respond within 30 days to a notice from Lender that the insurance
      carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30.day period will
      begin when the notice is given. In either event, or if Lender acquires the Property under Section 22 or
      otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount
      not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of Borrower's
      rights (other than the right to any refund of unearned premiums paid by Borrower) under all insurance
      policies covering the Property, insofar as such rights are applicable to the coverage of the Property. Lender
      may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the
      Note or this Security Instrument, whether or nor then due.
            6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
      within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
      Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise
      agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances
     exist which are beyond Borrower's control.
            7. P=ervation, M.aioteoance and Protection of the Property; Inspections. Borrower shall nor
      destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
      Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent
      the Property from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to
     Section 5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property if
     damaged to avoid further deterioration or damage. If insurance or condemnation proceeds arc paid in
     connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or
      restoring the Property only if Lender has released proceeds for such purposes. Lender may disburse proceeds
     for the repairs and restoratioa in a single payment or in a series of progress payments as the work is
     completed. If the insurance or condemnation proceeds are nor sufficient to repair or restore the Property,
      Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.
            Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
     reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
      Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.
           8. Borrower's Loan AppUcatlon. Borrower shall be in default if, during the Loan application process,
     Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or
     consent gave materially false, misleading, or inaccurate information or statements to Lender (or failed to
     provide Lender with material information) in connection with the Loan. Material representations include, but
     are not limited to, representations concerning Borrower's occupancy of the Property as Borrower's principal
     residence.
           9. Protection of Lender's Interest In the Property and Rights Under Ibis Security Instrument. If
     (a) Borrower fails to perforTn the covenants and agreements contained in this Security Josrrumen~ (b) there is
     a legal proceeding that might sipificantly affect Lender' s interest in the Property and/or rights under this
     Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
     enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
     regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
     reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
     lnstrurnen~ including protecting and/or assessing the value of the Property, and securing and/or repairing
     the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien which
     has priority over this Security 1.nstrument; (b) appearing in court; and (c) paying reasonable




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     attorneys' fees 10 protecl its interest in the Property and/or rights under this Securiry lns1TUmen1, including its
     secured position in a blll1lcruptcy proceeding. Securing the Property includes, but is nOI limited to, entering the
      Property to make repairs, change locks, replace or board up doors and windows, drain water from pipes,
     eliminate building or other code violations or dangerous conditions, and have utilities rurned on or off.
     Allhough Lender rnay take action under this Section 9, Lender does not have to do so and is not under any
     duly or obligation 10 do so. It is agreed that Lender incurs no liabiliry for nOI taking any or all actions
     authorized under this Section 9.
            Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
     secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
     disbursement and shall be payable, with such interest, upon notice from Lender 10 Borrower requesting
     payment
            If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
      lf Borrower acquires fee title to the Property, the leasehold and the fee title shall nOI merge unless Lender
     agrees to the merger in writing.
            10. Mortgage losuraoce. If Lender required Mortgage Insurance as a condition of making the Loan,
      Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason.
     the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
     previously provided such insurance and Borrower was required to make separately designated payments
     toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
     substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to
     the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer
     selected by Lender. If subsmnrialty equivalent Mortgage Insurance coverage is nOI available, Borrower shall
     continue 10 pay to Lender the amount of the separately designated payments that were due when the insurance
     coverage ceased to be in effect. Lender will accept, use and retain these payments as a non-refundable loss
     reserve in lieu of Mortgage Insurance Such loss reserve shall be non-refundable, notwithstanding the fact that
     the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings
     on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in
     the amount and for the period that Lender requires) provided by an insurer selected by Lender again becomes
     available, is obtained, and Lender requires separately designated payments toward the premiums for Mortgage
     Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
     required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower
     shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
     resen,e, until Lender's requirement for Morigagc Insurance ends in accordance with any written agrcemem
     between Borrower and Lender providing for such termination or until termination is required by Applicable
     Law. No1lling in this Section 10 affects Borrower's obligation to pay interest at 1lle rate provided in !he Note.
            Mortgage lnsurance reimburses Lender (or any entiry that purchases the Note) for certain losses it may
     incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
            Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
     enter into agreements will, other parties that share or modify their risk. or reduce losses. These agreements are
     on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these
     agreements. These agreements may require the mortgage insurer to make payments using any source of funds
     that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance
     premiums).
            As a result of these agreements. Lender, any purchaser of the Note, anOlher insurer, any reinsurer, any
     other entiry, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive
     from (or might be characterized as) a portioa of Borrow,:r' s payments for Mortgage Insurance, in exchange
     for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement provides that an
     affiliate of Lender takes a share of the insurer' s risk in exchange for a share of the premiums paid to the
     insurer, the arrangement is often termed "captive reinsurance." Further:
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           (a) Any suc,b agreements will not affect the amounts that Borrower bas agreed to pay for
     Mortgage Insurance, or any other terms or the Loan. Such agreements will not increase the amount
     Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.
           (b) Any such agreements will not affect tbe rights Borrower has - If any - with respect to the
     Mortgage Insurance under tbe H omeowners Protection Act or 1998 or any other law. These rights may
     Include the right to receive certain disclosures, to request and obtain cancellation of lhe Mortgage
     Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund or any
     Mortgage Insurance premiums that were unearned at the time or such cancellation or termination.
            11. Assignment or M.lscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
     assigned to and shall be paid to Lender.
           If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
     Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During
     such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until
     Lender bas had an opportunity to inspect such Property to ensure the work has been completed to Lender's
     satisfaction, provided that such inspection shall be Wldertaken promptly. Lender may pay for the repairs and
     restoration in a single disbursement or in a series of progress payments as the work is completed. Unless an
     agreement is made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds.
     Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds.
     If the restoration or repair is not economically feasible or Lender's security would be lessened,
     lhe Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
     whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
     applied in the order provided for in Section 2.
           In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
     shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
     any. paid to Borrower.
           In the event of a partial taking, destruction, or loss in value. of the Property in which the fair market
     value of the Property immediately before the partial taking. destruction, or loss in value is equal to or greater
     than the amount of the sums secured by this Security Instrument immediately before the partial taking,
     destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this
     Security Instrument shall be reduced by the amowit of the Miscellaneous Proceeds multiplied by the
     following fraction: (a) the total amount of the sums secured immediately before the partial taking, destruction,
     or loss in value divided by (b) !he fair market value of lhe Property immediately before the partial taking,
     destruction, or loss in value. Any balance shall be paid to Borrower.
           ln the event of a partial taking. destruction, or loss in value of the Property in which the fair market
     value of the Property immediately before the partial taking, destruction, or loss in value is less than the
     amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
     Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
     sec,ured by this Security lnslJ'Wllent whether or not !he sums are then due.
           If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
     Party (as defined in the next sentence) offers to make an award 10 senle a claim for damages, Borrower fails
     to respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect and
     apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this
     Security Instrument, whether or not then due. "'Opposing Party" means the third party that owes Borrower
     Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
     Proceeds.




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             Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
       Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's interest
       in the Property or rights under this Security Instrument Borrower can cure such a default and, if acceleration
      has occurred, reinstate as provided in Section 19, by causing the action or proceeding 10 be dismissed with a
      ruling that, in Lender's judgment, precludes forfeirure of the Property or other material impairment of
       Lender's interest in the Property or rights under this Security Instrument. The proceeds of any award or claim
      for damages that are attributable to the impairment of Lender's interest in the Property are hereby assigned
      and shall be paid to Lender.
             All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied
      in the order provided for in Section 2.
             12. Borrower Nol Releued; Forbearance By Lender Not a Waiver. Extension of the time for
      payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
      to Borrower or any Successor in Interest of Borrower shall not operate 10 release the liability of Borrower or
      any Successors in Interest of Borrower. Lender shall no< be required to commence proceedings against any
     Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization
      of the sums secured by this Security Instrument by reason of any demand made by the original Borrower or
      any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or rernedy
      including. without limitation, Lender's accep(llllCC of payments from third persons, entities or Successors in
      Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the
      exercise of any right or remedy.
             13. Joint and Several Lllblllty; Co-slgnen; Su<eesson and Assigns Bound. Borrower covenants and
      agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
     co-signs this Security Instrument but does not execute the No<e (a "co-signer"): (a) is co-signing this
     Security Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the
      terrns of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
      lnstrumcn~ and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make
     any accommodations with regard to the terms of this Security Instrument or the Note without the co-sigoer' s
     consent
            Subject to the provisions of Section 18, any Suocessor in Interest of Borrower who assumes Borrower's
     obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of
      Borrower's rights and benefits under this Security Instrument Borrower shall no< be released from
     Borrower's obligations and liability under ibis Security Instrument unless Lender agrees to such release in
     writing. The covenants and agreements of this Security Jnsmiment shall bind (except as provided in Section
     20) and benefit the successors and assigns of Lender.
             14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
     Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
     Security Instrument, including. but not limited to, attorneys' fees, property inspection and valuation fees. In
     regard to any other fees, the absence of express authority in this Security Instrument to charge a specific fee
     to Borrower shall no< be construed as a prohibition on the charging of such fee. Lender may 001 charge fees
     that are expressly prohibited by this Security Instrument or by Applicable Law.
            If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
     that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
     permitted limits, then: (a) any such loan charge shall be reduoed by the amount necessary to reduce the charge
     to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted limits
     will be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under
     the No<e or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be
     treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
     provided for under the No<e). Borrower' s acceptance of any such refund made by direct payment to Borrower
     will constitute a waiver of any right of action Borrower might have arising out of such overcharge.
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            IS. Notices. All ootices given by Borrower or Lender in connection with this Security Instrument must
      be in writing. Any notice to Borrower in connectioa with this Security lastrument shall be deemed to have
      been given 10 Borrower when mailed by firs1 class mail or when actually delivered to Borrower's notice
     address if sent by ocher means. Notice to any ooe Borrower shall constitute notice to all Borrowers unless
     Applicable Law expressly requires ocherwise. The notice address shall be lhe Property Address unless
      Borrower has designated a substirute notice address by notice to Lender. Borrower shall promptly ootify
     Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of
     address, 1hen Borrower shall only report a change of address through that specified procedure. There may be
     only ooe designated notice address under this Security Instrument at any one time. Any notice 10 Lender shall
      be given by delivering it or by mailing it by first class mail to Lender's address stated herein unless Lender
     has designated another address by notice 10 Borrower. Any notice in connection with this Security Instrument
     shall not be deemed to have been given to Lender until acrually received by Lender. If any notice required by
     this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
     die corresponding requirement under this Security Instrument.
           16. Governl.n g Law; SeverabiUty; Rules of Construction. This Security lastrument shall be governed
      by federal law and the law of the jurisdiction in which the Property is located. AU rights and obligations
     contained in this Security Instrument are subject to any requirements and limitations of Applicable Law.
     Applicable Law might explicitly or implicitly allow the parties 10 agree by coniract or it might be sileot,
     but such silence shall not be construed as a prohibition against agreement by coniract ln the event
     that any provision or clause of this Security Instrument or the Note conflicts with Applicable
     Law, such conflict shall not affect o<her provisions of this Security lnstrumenc or the Note which can be given
     effect without the conflicting provision.
           As used in this Security lnstrument (a) words of the masculine gender shall mean and include
     corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
     include the plural and vice versa; and (c) the word "may• gives sole discretion without any obligation to take
     any action.
           17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.
           18. Transfer of the Property or a Beneficial Interest In Borrower. As used in this Section l 8,
     "Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited to,
     those beneficial interests iransferred in a bond for deed, contract for deed. installment sales contract or escrow
     agreement, the. inteot of which is the transfer of title by Borrower at a future date to a purchaser.
           If all or any part of the Property or any Interest in the Property is sold or iransferred (or if Borrower is
     not a narural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
     consent, Lender may require immediate payment in full of all sums secured by this Security lnsirument.
     However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
           If Lender exercises this option, Lender shali give Borrower notice of acceleration. The notice shall
     provide a period of no< less than 30 days from the date the notice is given in accordance wich Section 15
     within which Borrower must pay all sums secured by this Security Instrument If Borrower fails to pay these
     sums prior to the expiration of this period, Lender may invoke any remedies penniired by this Security
     Instrument without further notice or demand on Borrower.
           19. Borrower's Right to Reinshlte After Acceleration. If Borrower meets certain cooditions,
     Borrower shall have the right 10 have enforcement of this Security Instrument discontinued at any time prior
     to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this
     Security Instrument; (b) such other period as Applicable Law might specify for the termination of Borrower's
     right 10 reinstate; or (c) eniry of a judgment enforcing 1his Security lnsirumenL Those conditions are that
     Borrower: (a) pays Lender all sums which then would be due under this Security lnstrumeot and the Note as
     if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all
     expenses incurred in enforcing this Security Instrument, including, but no< limited to. reasonable anomeys'



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       fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's
       imerest in the Property and rights under this Security lnStrUment; and (d) takes such actioo as Lender may
       reasonably require to assure that Lender's interest in the Property and rights under this Security Instrument,
       and Borrower' s obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
       Lender may require that Borrower pay such reinsratement sums and expenses in one or more of the following
       forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
       cashier's check, provided any such check is drawn upon an institution whose deposits arc insured by a federal
       agency, instrumenrality or entity; or (d) Electronic Funds Transfer. Upon reinsratement by Borrower, this
       Security Instrument and obligations secured hereby shall remain fully effective as if no acceleration had
      occurred. However, this right to reinstate shall not apply in the case of acceleration under Section 18.
             20. Sale of Note; Change or Loan Servicer; Notice of Grievance. The Noa, or a partial interest in the
       Note (together with this Security Instrument} can be sold one or more times without prior notice to Borrower.
      A sale might result in a change in the entity (known as the • Loan Servicer") that collects Periodic Payments
      due under the Note and this Security Instrument and performs other mortgage loan servicing obligations
      under the Note, this Security Instrument, and Applicable Law. There also might be one or more changes of
      the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be
      given written notice of the change which will state the name and address of the new Loan Servicer, the
      address to which payments should be made and any other information RESPA requires
      in connection with a notice of cransfer of servicing. If the Note is sold and thereafter the Loan is serviced by a
      Loan Servicer other than the purchaser of the Note, the mongage loan servicing obligations to Borrower will
      remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the Note
      purchaser unless otherwise provided by the Note purchaser.
             Neither Borrower oor Lender may commence, join, or be joined to any judicial action {as either an
      individual litigant or the member of a class) that arises from the other party's actions pursuant to this Security
      Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of,
      this Security lnStrUment, until such Borrower or Lender has notified the other party {with such notice given in
      compliance with the requirements of Section IS) of such alleged breach and afforded the other party hereto a
      reasonable period after the giving of such notice to take corrective action. If Applicable Law provides a time
      period which must elapse before certain action can be taken, that time period will be deemed to be reasonable
     for purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant
      to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to
     satisfy the notice and opportunity to take corrective action provisions of this Section 20.
            21. Huardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
     substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
     following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and
     herbicides, volatile solvents, materials conraining asbestos or formaldehyde, and radioactive material,;; {b)
     "Environmental Law" means federal laws and laws of the j urisdiction where the Property is located that relate
     to health, safety or environmental protection; {c) "Environmental Cleanup" includes any response action,
     remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental Condition"
     means a condition that can cause, contribute 10, or otherwise trigger an Environmental Cleanup.
            Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
     Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
     nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
     Law, (b) which creates an Environmental Condition, or {c) which, due to the presence, use, or release of a
     Hazardous Substance, creates a condition that adversely affe<:rs the value of the Property. The preceding two
     sentences shall not apply to the presence, use, or storage oo the Property of small quantities of Hazardous
     Substances that are generally recognized to be appropriate to normal residential uses and 10 maintenance of
     the Property (including, but not limited to, hazardous substances in consumer products).

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           Borrower shall promptly give Lender written notice of (a) any investigation, claim. del11Jlnd, lawsuit or
     other action by any governmental or regulatory agency or private party involving the Property and any
     Hazardous Substance or Environmental Law of which Borrower has acrual knowledge, (b) any
     Environmental Conditioo, including but not limited to, any spilling, leaking, discharge, release or threat of
     release of any Hazardous Substance, and (c) any coodition caused by the presence, use or release of a
     Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified by
     any govemmenlal or regulatory authority, or any private party, that any removal or other remediation of any
     Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all ne,;essary remedial
     actions in accordance with Environrnenlal Law. Nothing herein shall create any obligation on Lender for an
     Environmental Cleanup.
           NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

           22. Acceleratk>n; Remedies. Lender shall give notice to Borrower prior to acceleration following
      Borrower's breach of any covenant or agreement lo tbls Security Instrument (but not prior to
     acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a)
     the default; (h) the action ~uired to cure the default; (c) a date, not less than 30 days from tbe date
     the notice is given to Borrower, by which the default must be cured; (d) that failure to cure the default
     on or before the date specified in the notice may result in acceleration of the sums secured by this
     Security Instrument, fo reclosure by j udicial proceeding and sale of the P roperty; (e) the Borrower's
     right to reinstate after acceleration and the right to assert in the foreclosure proceeding the
     non-existence of a default or any other defense of Borrower to acceleration and foreclosure; and
     (I) any other disclosure required under the Fair Foreclosure Act, codified at Section 2A:S0-53 et seq. or
     the New Jersey Statutes, or other AppUcable Law. If the default is not cured on or before tbe date
     specified in the notice, Lender at Its option may require Immediate payment in full of au su ms secured
     by this Security Instrument without further demand and may foreclose Ibis Security Instrument by
     j udicial proceeding. Lender shall be entitled to collect a.U expenses incurred in pursuing the remedies
     provided In this Section 22, including, but not limited to, attorneys• rees and costs of title evidence
     pe.r mitted by Rules of Court.

           23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall cancel this
     Security Instrument, Borrower shall pay any recordation cosis. Lender may charge Borrower a fee for
     releasing this Security Instrument, but only if the fee is paid to a third party for services rendered and the
     charging of1be fee is perrnined under Applicable Law.


          24. No Claim or C redit for Tues. Borrower will not make deduction from or claim credit on the
     principal or interest secured by this Security Instrument by reason of any governmenllll taxes, assessments or
     charges. Borrower will not claim any deduction from the taxable value of the Property by reason of this
     Security Instrument.




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           BY SIGNING BELOW, Borrower acceptS and agrees to the terms and covenants contained in this
      Security Instrument and in any Rider executed by Borrower and recorded with it.

      Signed, sealed and deliyered in the presence of:

                     ~
                                                              ~          rour

             EDWARD R. EVANS, ESQ.
                 ~ ATTORNEY AT IAW
             Of TI* STATE OF NEW JEflSEV

                                                                  _ _ _ _ _ __ _ _ _ _ _ _ _ (Seal)
                                                                                                  ·Borrower




     _   _ __ __             _   _ _ __            (Seal)         _ __ _ _ _ __ __ __             _ (Seal)
                                                •llortowcr                                        ·Borrower




     _ __ __ _ __                 _ _ _ _ (Seal)                  _ _ _ __ _ _ _ _ _ _ _ _ (Seal)
                                                -Borrower                                         -Borrower




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     STATE OF NEW JERSEY,

          On this 21st
                                     ~~&~\'\
                                 day of March , 2007
                                                                                         County ss:

                                                                                    , before me, the subscriber,
     personally appeared Simon Zarour




                                                                                            who, I am satisfied,
     is/arc the persoo(s) named in and who executed the within instrument, and thereupon acknowledged that
     he/she/they signed, sealed and delivered the same as his/her/their act and deed, for the purposes therein
     expressed.



                                                 NOW}' Public




                                                                EDW~RD R. EVANS;E'SO.
                                                                   AN ATTORNEY ATlAW
                                                                OF THE STATE OF NEW JERSEY




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                                         1-4 FAMILY RIDER
                                               (Assignment of Rents)
           THIS l-4 FAMILY RIDER is made this 2 1st                day of Mar c h , 200 7
      and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or
      Security Deed (the "Security Instrument") of the same date given by the undersigned (the "Borrower") to
      secure Sorrower's Note to Ameri can Brokers Conduit

                                                                                                            (the
      " Lender") of the same date and covering the Property descrtbed in the Security Instrument and located at:
      6 Harr i s Place, Fair Lawn, NJ 07410

                                                     (Propc.ny Address]

            1-4 FAMILY COVENANTS. In addition to the covenants and agreements made in the Security
      lnsrrument, Borrower and Lender further covenant and agree as follows:

           A. ADDITIONAL PROPERTY SUBJECT TO THE S ECURITY INSTRUMENT. In addition to
     the Property described in the Security l11$trument, the following items now or hereafter auached to the
     Property 10 the extent they are fixtures are added to the Property description. and shall also constirute the
     Property covered by the Security lnsrrument building materials, appliances and goods of every narure
     whatsoever now or hereafter located in. on, or used, or intended to be used in coonection with the Properiy,
     including, but not limited to, those for the purposes of supplying or distributing heating. cooling, electricity,
     gas, water, air and light, ftte prevention and extinguishing apparatus, security and access conirol apparatus,
     plumbing, bath rubs, water heaters, water closets, sinks, ranges. stoves, refrigerators, dishwashers, disposals,
     washers, dzyers, awnings, storm windows, storm doors, screens, blinds, shades, curtains and curtain rods,
     attached mirrors, cabinets, paneling and attached floor coverings, all of Which, including replacements and
     additions thereto, shall be deemed to be and remain a part of the Property covered by the Security lnstrument
     All of the foregoing together with the Property described in the Security lnstnunent (or the leasehold estate if
     the Security Instrument is on a leasehold) are referred to in this 1-4 Family Rider and the Security Instrument
     as the "Property. •
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     MULTISTATE 1- 4 FAMILY RIDER - Fuole Mlt/frtddi• MIC UNU-ORM INSTRUMENT
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          8. USE OF PROPERTY; COMPLIANCE WITH LAW. Borrower shall not seek, agree to or make a
     chaoge io the use of the Property or its zoning classification, unless Lender has agreed in writing to the
     change. Borrower shall comply with all laws, ordinances, regulations and requirements of any governmental
     body applicable to the Property.

           C. SUBORDINATE LIENS. Except as permitted by federal law, Borrower shall not allow any lien
     inferior to the Security Instrument to be perfected against the Property wilhout Lender's prior written
     permission.

          D. RENT LOSS INSURANCE. Borrower shall maintain insurance ag;,inst rent loss in addition to the
     other hazards for which insurance is required by Section 5.

           E. "BORROWER'S RJGHT TO REINSTATE" DELETED. Section 19 is deleted.

          F. BORROWER'S OCCUPANCY. Unless Lender and Borrower otherwise agree in writing, Section 6
     concerning Borrower's occupancy of the Property is deleted.

           G. ASSIGNMENT OF LEASES. Upon Lender's request after default. Borrower shall assign to Lender
     all leases of !he Property and all security deposits made in connection with leases of the Property. Upon the
     assignment, Lender shall have the right to modify, extend or terminate the existing leases and to execute new
     leases, in Lender's sole discretion. As used in this paragraph G, the word "lease" shall mean "sublease" if the
     Security Instrument is on a leasehold.

           ff. ASSIGNMENT OF RENTS; APPOINTMENT OF RECEIVER; LENDER fN POSSESSION.
     Borrower absolutely and unconditionally assigns and transfers to Lender all the rents and revenues (" Rents")
     of the Property, reg;,rdless of ro whom the Rents of the Property are payable. Borrower authorizes Lender or
     Lender' s agents to collect the Rents, and agrees that each tenant of the Property shall pay the Rents to Lender
     or Lender' s agents. However, Borrower shall receive the Rents until: (i) Lender has given Borrower notice of
     default pursuant to Section 22 of the Security Instrument, and (ii) Lender has given notice to the tenant(s) that
     the Rents are to be paid to lender or Lender's agen.t. This assignment or Rents constitutes an absolute
     assignment and not an assignment for additional security only.
           If Lender gives notice of default to Borrower: (i) all Rents received by Borrower shall be held by
     Borrower as truStee for the benefit of Lender only, to be applied to the sums secured by the Security
     Instrument; (ii) Lender shall be entitled to collect and receive all of the Rents of the Property; (iii)


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      Borrower agrees that each tenant of the Property shall pay all Rents due and unpaid to Lender or Lender's
     agents upon Lender's written demand to the tenant; (iv) unless applicable law provides otherwise, all Rents
     collected by L~nder or Lender's agents shall be applied first to the costs of taking control of and managing
      the Property and collecting the Rents, including, but not limited to, attorney's fees, receiver's fees, premiums
     on receiver's bonds, repafr and maintenance costs, insurance premium~ taxes, assessments and other charges
     on the Property, and then to the sums secured by the Security Instrument; (v) Lender, Lender's agents or any
     judicially appointed receiver shall be liable to account for only those Rents actually received; and (vi) Lender
     shall be entitled to have a receiver appointed to take possession of and manage the Property and collect the
     Rents and profits de,rived from the Property without any showing as to the inadequacy of the Property as
     security.
           If the Rents of the Property are not sufficient to cover the costs of taking control of and managing the
     Property and of collecting the Rents any funds expended by Lender for such purposes shall become
     indebtedness of Borrower to Lender secured by the Security Instrument pursuant to Section 9.
           Borrower represents and warrants that Borrower has not executed any prior assignment of the Rents and
     has not performed, and will not perform, any act that would prevent Lender from exercising its rights under
     this paragraph.
           Lender, or Lender's agents or a judicially appointed receiver, shall not be required to enter upon, take
     control of or mainrain the Property before or after giving notice of default to Borrower. However, Lender. or
     Lender's agents or a judicially appointed receiver, may do so at any time when a default occurs. Any
     application of Rents shall not cure or waive any default or invalidate any other right or remedy of Lender.
     This assignment of Rents of the Property shall terminate when all the sums secured by lhe Security
     Instrument are paid in full.

           I. CROSS-DEFAULT PROVlSION. Borrower's default or breach under any note or agreement in
     which Lender has an interest shall be a breach under the Security Instrument and Lender may invoke any of
     the remedies permitted by lhe Security Instrument.




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          BY SIGNING BELOW, Borrower accepts and agrees to the tenns and provisions contained in this 1-4
     Family Rider.



                                                         _ __ _ _ _ _ __              _ _ _ _ (Seal)
     --'~.-!!!!~::'.'.'.~===== (Seal)
     Simon Zarour                           ·B<lrrower                                           ·Borr~·cr




     _ _ _ __ _ _ _ __ _ _ _ (Seal)                      _ _ _ _ _ _ _ __ _ _ _ _ (Seal)
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     _ _ _ __ _ __ _ _ __ _ (Seal)                       _ _ _ _ _ _ _ _ _ _ _ _ (Seal)
                                            ·Borrower                                            -Bottowcr




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                                                          •• , l
                                                                              ; .     LEGAL DESCRIPTION
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                    AJI that certeln tract or parcel of la~~ 1~11ted, lying and being in Iha Borough of Fair Lawn in the County of
                    Bergen and the State of New:J~e}!.
                                                  , .                    ..n!m
                                                                  por1lcularty described as follows:

                    Being Known and designa~ es ~°'·16m Blod( 2708 on a certain map entitled •subdMaion Plat. Proapect
                    Gardens, section No. 4, Borough :ot;felr Lawn, Bergen County NJ· and tiled In the Bergen County Clerk's Office
                    on 5119/50 •as Map No. 3919.      ·; i
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                    Beginning at a point on the ~         jaldelirie of Hams Place (60 feet wide), said point being distant nooher1y
                    150:76 feet. &long various C!)Ur:se&, from • terminus of a curve connecting said sideline with the northerly of High
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k'
                    Street. and·rvnnln9. thence;       ,       J
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r. .                (1) Leavin~ HalTis Place, Nb,th 8(.~~                             56 mlnutu 00 1econd1 Weat a distance of 140.00 feet to a point,
I                   thence;
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                    (2) North ~ degrees 04 mln~\es      a~J~c,s Eaat a distance of 70.00 feet to a polnt, thence;
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                    (3) South b   degrees 56  mlnui.:J~
                    of 11id Harris Place, thence;
                                                                                        Eaat II distllnce of 140.00 feet to a point on the we,terty sideHne




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                    place of beginning.
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                    (4) Along ~aid sideline, South 2
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                    dated December 28, 2006. .     ·i.l                   I
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Ir'
                    FOR INFORMATIONAL PURPO~'dtfL:Y: BEING known as Lot 16, Block 2708 of the official Tax Map of the
,.
I..                 Borough ot Fair Lawn. • ·i / ·


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               MEAS: (888)6n.6377                     Elizab•th Randall, Bergen county Clerk


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,:::,,     l-'1l    ~                                        CORRECTIVEASS ICNMENT
               To correct and confirm the execution on assignment, recorded on 11/12/2008 In book ~page_304


                                                              Assignment of Mortgage
                                                           Know all Men by these Pr esents:
               That Mortgage Electronic Registration Systems, Inc., as nominee for American Brokers Cond uit its
               successors and assigns

               located at /901 E Voorhees Street, Suire C, Danv/1/e, IL 61834
               herein designated as the Assignor.for and in consideration ofthe sum ofONE DOLLAR AND 00/100 (S 1.00) and
               other good and valuable consideration, the receipt whereofis hereby acknowledged. does by these presents assign
               to


               Deutsche Ban k Nationa l T rust Com pany as Trustee ror American Home Mortgage Assets Trust 2007-3
               Mortgage-Backed Pass-Through Certificates, Series 2007-3

               located at C/0 AHMSI at 1525 S. Belt Line Road, Suite TOON, Coppell, TX 75019
               herein designated as the Assignee, a certain Mortgage recorded 03/28/2007, made by Simon Zarour on land,
               located in the Borough of Fair Lawn in the County of BERGEN and State ofNew Jersey, to secure payment ofthe


                                 -
               sum of S332240. 00 Doi/ors which mortgage is recorded or registered in the office ofthe Clerk or Register ofBERGEN
               County inlfook 16648 ofMor/gages on page 610.
                                                               -
               Together with the Bond. Note or other Obligation therein described, and the money due and to grow due thereon, with
               the intere.rt. To have and to hold the same umo the said Assignee forever. subjecl only to all the provisions co111ained
               in the said Mortgage and the Bond, Note or other Obligation. And the said Assignor hereby constitutes and appoints
               the A.rsignee as the Assignor's true and lawful attorney, irrevocable in law or in equity, in the Assignor's name, place
               and stead but at the Assignee's cost and expense, lo have, use and take o/1 /awful way.r and means for the recovery of
               all the said money and interest; and in case ofpayment, to discharge /he same as fully as the Assignor might or could
               do if these presents were not made. This assignment is withoul recourse for any reason whatsoever.

                   In all references herein to any parties, persons, enlities or corporations the use ofany particular gender or /he
               plural or singular number is intended to include the appropriate gender or number as the text of the within inslrument
               may require.

                     In Witness Whereof, the said Assignor has hereunto set his hand and seal or caused ti;ese presents to be
               siglJJZUzy its prope\\°rporate officers and its corporate seal to be hereto affixed 1/ris I!::>   day of
                   ~V\'I 20
                           \
                                                          Mortgage El«tronk Rtgislralion Sysltms. Int., as nominee for Amtrkan Broktrs
                                                          Conduit its sutC'tssors and auigns



                                                          BY~~
                                                          Print Name and Title         Au King Assistant Secretary
                                           Florida
                   STATE OF _ _ _ __ __ _ , COUNTY OF _ _ _ _ _ _ _ _ _ SS:
                                                                                                            Duva]

                           lcertifythaton .   J1..1.ff 15                            20Jj_,                 April King                   personally
                   came before me and this person acknowledged under oath, to my satisfaction that:
                                                                                                             Assistant Secretary
                   (a)    this person signed, scaled and delivered the attached document as                               of
                   Mortgage Electronic Registration Systems, Inc., as nominee for American Brokers Conduit its successors and
                   assigns the corporation named in this document;

                    (b) this document was s igned and made by the corporation as its voluntary act and deed by virtue of authority
                    from its Board of Directors.

                                                            NOTARY P'UBUC.sTATE OF FLO~A
                                                             ,,•""·~·- Brenda L. Frazter
                                                           ·( W \Commission #DD88S64l
                                                            -... ./ Expires: APR. 30, 2013
                                                            ao~i>~> TtJ)'U ATLAHTlC 80.'<DlSC CO., L'it:.


                                                                                                                       Rt;CORI> & RETURN
                                                                                                              ZUCKER. GOl,l>BERG & ACKERMAN, LLC
                                                                                                                    200 Shtffitld Strt <I, Suitt JOI
                                                                                                                           P. 0. Box lOlA
                                                                                                                    Mountalnsldt, NJ 07092~024
                                                                                                                    C_l 10981_AOMIXI_C
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                                                    InterestFirst'M NOTE
 March 21, 2007                                        FAIR LAWN                                                New Jersey
                 IOateJ                                          !Chy]                                             IS1atcl



 6 Harris Place, Fair Lawn                                                       , NJ     07410
                                                             [Propeny Address]
 I. BORROWER'S PROMISE T O PAY
       In return for a loan that I have received, I promise to pay U.S. S 332,240.00                   (this amount is called "Principal").
 plus interest, to the order of the Lender. The Lender is American Brokers Conduit


 I will make all payments under this Note in the form of cash. check or money order.
       I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is entitled
 to receive payments under this Note is called the "Nole Holder."

 2. INTEREST
      Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest at a yearly rate
of                  7 .soo %.
      The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section 6(8) of
this Note.

3. PAYMENTS
    (A) Time and Place or Payments
      I will make a payment every month. This payment will be for interest only for the first        12 O           months, and then will
consist of principal and interest.
      I will make my monthly payment on the 1st                 day of each month beginning on       May l, 2007                    . I will
make these payments every month until I have paid all of the principal and interest and any other charges described below that I
may owe under this Note. Each monthly payment will be applied as of its scheduled due date, and if the payment includes both
principal and interest it will be applied 10 interest before Principal. If, on April l, 2037                         , I still owe amounts
under this Note, I will pay those amounts in full on that date, which is called the "Maturity Date."
      I will make my monthly payments at PO Box 660029. Dallas, TX 75266-0029
                                                                                  or at a different place if required by the Note Holder .
     (B) Amount of Monthly Payments
      My monthly payment will be in the amount of U.S.$ 2,076.50                          for the first 120          months of this Note,
and thereafter will be in the amount of U.S. $ 2, 6 7 6 . 50                       . The Note Holder will notify me prior to the date of
change in monthly payment.

4. BORROW ER'S RIGHT T O PREPAY
      I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
"Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that lam doing so. I may not designate a payment
as a Prepayment if I have not made all the monthly payments due under the Note.
      I may make a full Prepayment or partial Prepayments without paying a Prepayment c.harge. The Note Holder will use my
Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my Prepayment to
the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the Principal amount of the
Note. If I make a partial Prepayment, there will be no changes in the due date of my monthly payment unless tbe Note Holder


DOC#,
MULTIST/\TE lntm<tflnl            FIXED RATE NOTE -Sn,gle Family- Fo.i. M.. UNIFORM INSTRUMENT
                            UMS1 0210

-     - N (OllO,                    Form3271 I/OI
     C> VM.P MORTGAGE FORMS. (acx,»21-1291

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agrees in writing to those changes. Howev~r. if the partial Prepayment is made duriog the period when my monthly paymencs
consist only of interest. the amount of the monthly payment will decrease for the remainder of the term when my paymenlS consist
only of interest as well as during the rime that my payments consist of principal and interest. If the partial Prepayment is made
during the period when my paymencs consist of principal and interest, the amount of my monthly payment will not de.Tease;
however, the principal and the interest required under this Note will be paid prior to the Marurity Date.

5. LOAN CHARGES
      If a law, which applies to this loan and which sets muimurn loan charges, is finally interpreted so that the interest or other
loan charges collected or to be collected in coMection with this loan exceed the permitted limits. then: (a) any such loan charge
shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from me
which exceeded permitted limi1s will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal I owe under this Note or by making a direct payment to me. If a refund reduces Principal, the reduction will be treated as
a partial Prepayment

6. BORROWER'S FAILURE TO PAY AS REQUIRED
      (A) Late Cbarge for Overdue Payments
      If the Note Holder has not received the full amount of any monlhly payment by the end of 15               calendar days
after !he date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be         s . 0 0 0 % of
my overdue payment of interest and/or principal and interest. I will pay this late charge promptly but only once on each late
payment.
     (B) Ddault
      If I do not pay the fuU amount of each monthly payment on the date it is due, I will be in default.
      (C) Notice of Default
      If I am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount by a
certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all the
interest that I owe on that amount. That date must be at least 30 days after the date on which the notice is mailed to me or delivered
by other means.
      (D) No Waiver By Note Holder
      Even if, at a time when l am in default, the Note Holder does not require me to pay immediately in full as described above,
the Note Holder will still have the right to do so if I am in default at a later time.
      (E) Payment of Note Holder's Costs and El)lenses
      If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to be
paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those
expenses include, for example, reasonable attorneys' fees.

7. GIVING OF NOTICES
     Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if I give the Note
Holder a notice of my different address.
     Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first class
mail to the Note Holder at the address stated in Section 3(A) above or at a different address if I am given a notice of that different
address.

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE
      If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in this
Note. including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is also
obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety or
endorser of this Note, is also obligated to keep all of the promises made in this Nole. The Note Holder may enforce its rights under
this Note against each person individually or against all of us together. This means that any one of us may be required to pay aU of
the arnouncs owed under this Note.




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9. WAIVERS
      I and any other person who has oblib'lltions under this Note waive the rights of Presentment and Notice of Dishonor.
"Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

10. UNIFORM SECURED NOTE
     This Note is a unifonn inswment wilh limited variations in some jurisdictions. ln addition to the protections given to the
Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"), dated the same date as this
Note, protects the Note Holder from possible losses wbich might result if I do not keep the promises which I make in this Note.
That Security Jnswment describes how and under what conditions I may be required to make immediate payment in full of all
amounts I owe under chis Note. Some of !hose conditions are described as follows:
               If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
         natural person and a beneficial interest in Borrower is sold or transferred) without Lender' s prior written consent.
         Lender may require immediate payment in full of all sums secured by this Security lnstrumenL However, this
         option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
              If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide
         a period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
         Borrower must pay all sums secured by !his Security Instrument. If Borrower fails to pay these sums prior to the
        expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without further
         notice or demand on Borrower.




WITNESS THE HAND(S) AND SE!AL(S) OF THE UNDERSIGNED.


                                                                       _ _ _ _ _ _ _ _ __ _ _ _ _ _ (Seal)
                                                                                                                        -Borrower




_ _ _ __ _ _ _ _ __ _ _ _ _ _ (Seal)                                   _ __ _ _ _ _ _ _ _ _ __ _ _ _ _ (Seal)
                                                     •Borrower                                                          ·8orrOWC1°




                                                                                                                       ·-
_ _ _ __ _ _ __                   _ _ _ _ _ (Seal)                 _ _ _ __ _ __ _ _ _ _ __ _ _ (Seal)
                                                     -Bon'ower




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